Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6034 Page 1 of 98




                                EXHIBIT 40




                                                                  Ex. 40 - 5646
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6035 Page 2 of 98


                                                                              Page 1
 1

 2                   UNITED STATES DISTRICT COURT
 3                   SOUTHERN DISTRICT OF NEW YORK
 4    ----------------------------------X
      TARLA MAKAEFF, et al., on
 5    Behalf of Themselves and               Case No. 3:10-CV-00940-CAB(WVG)
      all Others Similarly Situated,
 6

                      Plaintiffs,
 7

              v.
 8

      TRUMP UNIVERSITY, LLC, et al,
 9

                      Defendants.
10    ----------------------------------X
11

12                   VIDEOTAPED DEPOSITION
13                              OF
14                     CORINNE A. SOMMER
15                     New York, New York
16                 Wednesday, November 7, 2012
17

18

19

20

21

22

23

24    Reported by:
      ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
25    JOB NO. 54530

                          TSG Reporting - Worldwide   877-702-9580
                                                                     Ex. 40 - 5647
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6036 Page 3 of 98


                                                                            Page 302
 1                                C. Sommer
 2    roller coaster through the day so you want to
 3    buy something.
 4           Q.      Now you reported back to Highbloom
 5    and Sexton about your impressions of the
 6    program, right?
 7           A.      Yes, mostly to Highbloom.
 8           Q.      And since you sat through a number of
 9    these, you weren't mesmerized and taken in by
10    this because this was old hat to you after you
11    had been through a few, right?
12                   MS. ECK:        Objection.             Vague.
13           A.      No.     I think every time it was sort
14    of exciting and you learned something new based
15    on the presenter.           Everyone had something new to
16    say, so I think every time was sort of new and
17    exciting.
18           Q.      And by learning something, you mean
19    something new about real estate?
20           A.      Yeah.
21           Q.      So even you who have gone through
22    program after program, you learned something new
23    each time?
24           A.      Well, because there were different
25    presenters, yes.

                           TSG Reporting - Worldwide   877-702-9580
                                                                      Ex. 40 - 5648
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6037 Page 4 of 98


                                                                               Page 303
 1                                 C. Sommer
 2           Q.      So it would depend on the presenter
 3    what you learned?
 4           A.      Yes.
 5           Q.      And some you learned more than
 6    others?
 7           A.      Well, they all have different
 8    techniques.
 9           Q.      Different styles?
10           A.      Yes.
11           Q.      Different information they're
12    conveying?
13           A.      Yes.
14           Q.      Different slides in their PowerPoint?
15                   MS. ECK:         Objection.             Misstates the
16           witness' testimony.
17           A.      No.     Well, it depends on some of the
18    presenters were using other people's, so some of
19    them had the same.
20           Q.      Some were the same and some were
21    different.
22           A.      Some were the same and some were
23    different.
24           Q.      All right.           And they had different
25    experiences and examples that they gave?

                            TSG Reporting - Worldwide   877-702-9580
                                                                         Ex. 40 - 5649
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6038 Page 5 of 98


                                                                             Page 304
 1                                 C. Sommer
 2           A.      Yes.
 3           Q.      And you'd report back to Highbloom
 4    and you would tell him, I thought this
 5    particular presenter was very good or effective,
 6    right?
 7           A.      Yes.
 8           Q.      And then other speakers you said not
 9    so much, I didn't think this one was as
10    effective.
11           A.      Yes.
12           Q.      Did you make any attempt to see if
13    your own impressions and comments coincided with
14    the participants of that program?
15           A.      No.
16           Q.      How many purchasers of the elite
17    programs did you ever interact with either in
18    person, by phone or by email?
19           A.      I don't know an exact number.
20           Q.      Was it more than five?
21           A.      I don't know.
22           Q.      On line 24 you state, "After
23    purchasing the elite program, I saw many
24    students who realized that they did not get what
25    they are promised."

                            TSG Reporting - Worldwide   877-702-9580
                                                                       Ex. 40 - 5650
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6039 Page 6 of 98




                             EXHIBIT 41
                       Pages: 5651-5674


                       [Filed Conditionally
                           Under Seal]
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6040 Page 7 of 98




                                EXHIBIT 42




                                                                  Ex. 42 - 5675
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6041 Page 8 of 98




                                                                                    Page 1
         1                 UNITED STATES DISTRICT COURT
         2           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
         3

                                                                    )

         4   TARLA MAKAEFF, BRANDON KELLER,                         )

             ED OBERKROM, and PATRICIA MURPHY,                      )

         5   on Behalf of Themselves and All                        )

             Others Similarly Situated,                         )
         6
                                                                )

                             Plaintiffs,                        ) Case No.
         7
                                                                ) 10 CV 0940 CAB (WVG)
                       vs.                                      )

         8
                                                                )

             TRUMP UNIVERSITY, LLC, (aka Trump                  )

      9      Entrepreneur Ini tiati ve) a New                   )

             York Limited Liability Company,                    )

     10      DONALD J. TRUMP, and DOES 1                        )

             through 50, inclusive,                             )

     11                                                         )

                             Defendants.                        )

    12
                                                                )
    13
    14
    15                Videotaped Deposition of Joann Everett
    16                taken at 655 West Broadway, Suite 1900,
    17                San Diego, California, commencing at
    18                9:31 a.m., on Wednesday, October 3, 2012,
    19                before Kimberly S. Thrall, RPR, CSR No. 11594.
    20
    21
    22
    23
    24       Reported by: Kimberly S. Thrall, RPR, CSR. No. 11594
    25                     Job No. 54027

                                TSG Reporting - Worldwide 877-702-9580




                                                                                Ex. 42 - 5676
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6042 Page 9 of 98




                                                                                   Page 37
         1   go through those.
         2       A.    Uh-huh.
         3             The first one, is that Bates No. EVERETT8 on
                 Q.
         4 the bottom?
         5       A.    Yes, it is.
         6       q.i   Okay. Please show me where-iñ -thãE -dõcument
         7


         8
                                  - - -- - - -
             Trump Uni versi ty promised a specific amount of money or

             a certain level of success that you would obtain by
         9   purchasing a Trump Uni versi ty program.
     10                MS. ECK:     I object that the document speaks for,
     11 itself.
     12 You can answer if -- if --
    13                 THE WITNESS: IOh.
    14                 IMS. ECK: 1-- there i s anything in there.
    15                 ,THE WITNESS: .Yes.
    16                 MS. ECK: 'Okay..
    17
                       - -- --
                       THE -WITNESS: I It states:             "Corne to the free
    18 clc~.ss -and - cORY exactly what I've done and get rich."

    19 BY MR. SCHNEIDER:
    20
                       - - --
                 Q.I Woes it state any specific amount of money or
    21
                                 --- - - -
             guarantee a c~rtain level of succ~ss?
    22                 MS. ECK: Obj eetioñ. Asked and añswered.
    23 BY MR. SCHNEIDER:
    24           Let Iñe -~- iet me - separate those two. Does it
                Q.
    25 guarantee-ñy specific amount of money that you - Willj

                              TSG Reporting - Worldwide 877-702-9580




                                                                               Ex. 42 - 5677
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6043 Page 10 of 98




                                                                                                    Page 38
          1 make?
          2        A.     An exact amount, is that what you're looking
          3 for?
          4               Any dollar amount.                          Does it give any dollar
                   Q. ,
          5 "amount -of money that you could expect to make
          6        A.I     I do not see a dollar amount given.                          It implied
          7
                                     ---
              tha t one is going to be making money, which I presume
          8   would be in a dollar amount, but they didn't state it in
          9   dollar figures. They stated it to increa~e your income,
     10       you know, take advantage of the fast-changing market in
     11       real estate, many opportunities, follow my secrets to
     12       s~_s..n9-y.ou wilLget rich!. whiç,h is doll~..
     13           Q.                                      - -
                          There i S no specific g.uarantee of success, i
     14 correct?
     15                   MS. ECK: 'Obj ection. Lack of foundation.                          i


     16 BY MR. SCHNEIDER:
     17          IQ.      You can answer the question.                        1



     18          'A.      IOh. lles_t~te the q~~-?tJ.2.

     19          IQ.      lIs there any guarantee of success in that
     20
                 - - - -
              invi tation to the free pr~gram?
                                                                              - - - -
     21                   MS. ECK:, Obiectiõn.                         Asked and answered.
     22 BY MR. SCHNEIDER:
     23           Q-. l   You can answer.
     24                   MS. ECK: You can answer.
     25                   THE WITNESS: A guarantee, there's an assurance


                                           TSG Reporting - Worldwide 877-702-9580




                                                                                                 Ex. 42 - 5678
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6044 Page 11 of 98




                                                                              Page 39
          1 that this is -- that he is representing putting his name
          2 on this class. He i s noted for being a real estate
          3 investor /. so it's implied.
          4 BY MR. SCHNEIDER:
          5              Ms. Everett, my qu~stion is a little bit
                   Q.¡
          6   different.     Is there any guarantee.ig _that letter to y~
          7 of success or a eertaiñ dollaramaunt?
          8
                                         ----
                         MS. ECK: Objection. Compound. Asked and
          9 answered.
     10 BY MR. SCHNEIDER:
     11
                  Q.     Sure.     I can separate it if you want. And from
     12 time to time during the depõsitioñ, your attorneys, as,
     13       they have been, will make objections. Either they don'tl
     14 like the question or the way I've formed the question
     15 ar ~~õr--for whatever reason.: You're still obligated to
     16       ianswer the-guestjon
                           -       --,
     17           IA.    Okay.    I see.
     18                  -- unless the iãwyers
                  :Q.
     19           ,A.,   Okay.1
     20
                  Q.I    -- instruct you not to.
                                                   -- --
     21           A.i    Okay. Thank you.
     22                  All ~ight. So it's just to preserve the record
                  Q.
     23 for- another time.
     24           A.     I see.
     25
                  Q..    All right.

                                  TSG Reporting - Worldwide 877-702-9580




                                                                           Ex. 42 - 5679
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6045 Page 12 of 98




                                                                                           Page 40
          1        A.     I -- I understand.
          2


          3
                   Q.
                         - -
                          So in the lette~ that you're looking at, which
              iis the invitation to the free program, anywhere in that
          4   Iletter does it state any kind of guaranteed return or an
          5
                                                         - - - ---
              .amount of money that you will make by buying a program?
          6       A.      I do not see that in this letter.
          7               Is there any guarantee of a level of success
                  Q. ~

          8   that y.~~ will achieve?
          9               MS. ECK: Obj ection. Asked and answered.
     10                   THE WITNESS:       I9 there any guarantee to
     11 succes s?
     12 BY MR. SCHNEIDER:
     13                   Tha~y'ou_ will reach a certain level oJ~.u££~~.
                  Q.--
     14
                          -
                          MS. JENSEN: I believe she's already answered
     15
                                - -
              this qye~tion, David. I mean, you're just harassing her
     16       until you get a -- an answer that you like.
     17
                               - -- -- - - -
                          MR. SCHNEIDER: II want an answer to thei
     18       question.
     19                   MS. JENSEN:     ~she - already has answered.
     20                  IMS. ECK: You can read it again.
     21
                         ITHE WITÑËSS:' I would not -- yes, I would not
     22       have signed up --
     23       BY MR. SCHNEIDER:
     24
                  Q. .    Ms. Everett -- Ms. Everett                      Ms. Everett
     25          ,A.I     I would not have attended-the free seminar had


                                 TSG Reporting - Worldwide 877-702-9580




                                                                                        Ex. 42 - 5680
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6046 Page 13 of 98




                                                                                                Page 41
          1   I not thought there was some opportunity.' And this
                - - -
          2   iletter to me stated there is an opportunl ty _ to _mak~
          3   -money in investing in real estate.
          4
                   Q.      All rig_ht -:,
          5        A.      Otherwise, I would have thrown the thing out.
          6
                   Q.,     All right-- Añd that's how -you pereeIved -that,
          7   correct, as a
                    -
          8        A.      Yes.
          9                       as a potential opportunity?
                   Q.
     10            A:     As an opportuni ty by -usin9 his ~echniques.
     11                   IAll right. But there is no guarantee of success
                   Q.
     12 meñtloñed -in there , correct?
     13            A.     I don't think anyone here --
     14                   MS. ECK: Asked añd answeie~
     15                   MS. JENSEN: IAsked and answered.                         1 You're also
     16 harassing- the W'ftness at this_ .point.1
     17 BY MR. SCHNEIDER:
     18           IQ.     'I'm sorry.' You don't think anybody' what? You
     19 .were ~aying I don '-t think añy~ody guaranteed success?
     20           A--I 'Well, in life you have oppõrtuni ties. He's
     21 offeriñg - an..EPartuni ty"i a one-=year Elentõring, a
     22 three-day meñtorship, implying that õne will be
     23 suceessful. And I've been told persoDally I wõuld -be,
     24
                         -- --
              but that's later in the workshop session.
     25
                  Q.      Tha!-_' ~_ãfter_ you already purchased something,

                                          TSG Reporting - Worldwide 877-702-9580




                                                                                             Ex. 42 - 5681
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6047 Page 14 of 98




                                                                                       Page 42
          1   right?
          2         A.      Yes.
          3
                     Q.     Okay. So, now let's go back to the next
          4   document, which iS page 16. That was the next one
          5   identified by your attorney. And there's a Post-It note
          6 on it.
          7         A.      Uh-huh. Okay.
          8
                    Q.     All right. Where in that document is there
          9   the         the request was for documents that reflect a
     10       promise or a guarantee of a certain amount of money or a
     11       certain level of success.
     12                    Is there anywhere in that document, which is
     13       Bates-stamped Everett16
     14             A.     Uh-huh.
     15                    -- in which there's a promise of a certain
                    Q.
     16       amount of money or a guarantee of success?
     17             A.     Now, to my recollection, this is a duplicate
     18       after I had already signed up. Apparently they didn't
     19       take my name off the mailing list.                     I received another
     20 invi tation for a free seminar.
     21
                    Q.     Okay.     So --
     22             A.     So this is -- I just sent this showing that I
     23       received more information from Trump, but this is -- I
     24       didn't do anything with this particular --
     25                    Okay.
                    Q.


                                   TSG Reporting - Worldwide 877-702-9580




                                                                                    Ex. 42 - 5682
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6048 Page 15 of 98




                                                                       Page 251
      1
                Q.   Now, you -- you put in quotes when you said the
      2    word "uni versi ty. "
      3              Did -- did you believe that this was a -- a
      4 universitx similar to, let's say, University-õf Florida?
      5        A.    No, I did not think it was University of
      6    Florida, b2~ thou9ht it was a -- like a -- you-might
      7'   have like a real estate school or a special school that
     .i    has certification and follows certain guidelines tõr ~he
      9    state and --
    110
               Q.    Okay.   So let's talk about that. You knew1t
    11     wasn't a university like the University of Florida?
    12         A.    I didn't think it was full scale like a
    13     University of Florida, no.
    14         Q.    Okay. But you thou9ht it might have some kindl
    15 of certification?
    16         A.    Oh, of cour§e..
    17         Q.    All right. And did you make any inquiry as to
    18     iwhether or not you could _g~t s~r~tfied by taking courses
    19     a t Trump University?
    20         A.    No, i did not, at th~t_~~~t that day.
    21         Q.    And was there any representation by anybody at
    22     Trump University that it was accredited?
    23         A.    11 didn't -- I didn't ask.
    24         IQ.   iAnd did anybody represent that it was
    25 accredi ted?

                             TSG Reporting - Worldwide 877-702-9580




                                                                      Ex. 42 - 5683
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6049 Page 16 of 98




                                                                     Page 252
     1 A. I did not -- I don't remember.
     2 Q. You're saying you don it remember them making
     3 that statement?
     4 A. I don't remember them making that statement. I
     5 mean, I don't remember every' statement we made there,
     6    but
     7
                Q. All right. And did -- at any time did you make
     8    any inquiry wi th the Real ty Board in Florida to see if
     9    any of the courses that you took, you might get
    10    continuing legal education --
    11          A. No.
    12          Q. -- or continuing real estate education?
    13          A. No.
    14          Q. Did you ever apply to get any kind of creditor
    15    see if credit was available for taking the course?
    16          A. Not at this particular time.
    17          Q. At any time?
    18          A. Later on it was brought up in discussions that
    19    they -- that they it was not available, that --
    20          Q. Who told you that?
    21              MS. ECK: I caution the witness not to --
    22              THE WITNESS: Okay.
    23              MR. SCHNEIDER: Oh, I'm sorry. I thought you
    24   meant Trump University.
    25              MS. ECK: Yeah.

                           TSG Reporting - Worldwide 877-702-9580




                                                                    Ex. 42 - 5684
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6050 Page 17 of 98




                                                                         Page 1
          1                    UNITED STATES DISTRICT COURT

          2           FOR THE SOUTHERN DISTRICT OF CALIFORNIA

          3
                                                        )
          4   TARLA MAKAEFF, BRANDON KELLER,            )
              ED OBERKROM, and PATRICIA MURPHY,      )
         5    on Behalf of Themselves and All        )
              Others Similarly Situated,             )
         6                                           )
                              Plaintiffs,            ) Case No.
         7                                           ) 10 CV 0940 CAB (WVG)
                        vs.                          )
       8                                             )
              TRUMP UNIVERSITY, LLC, (aka Trump     )
       9      Entrepreneur Ini tiati ve) a New      )
              York Limited Liability Company,       )
     10       DONALD J. TRUMP, and DOES 1           )
              through 50, inclusive,                )
     11                                             )
                              Defendants.           )
     1.2                                            )


     13

     14

     15                Videotaped Deposition of John Brown

     16                taken at 655 West Broadway, Suite 1900,

     17                San Diego, California, commencing at

     18                9: 18 a.m., on Monday, October 8, 2012,
     19                before Kimberly S. Thrall, RPR, CSR No. 11594.

     20
     21

    22

    23

    24 Reported by: Kimberly S. Thrall, RPR, CSR. No. 11594
    25                        Job No. 54027




                                                                     Ex. 42 - 5685
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6051 Page 18 of 98




                                                                         Page 42
          1    reviewed or read or received before you purchased the

          2    1,495 program.

          3        A. Not directly from Mr. Trump, but it was
          4   implied.
          5        Q. Now, what are you referring to that was
          6   implied?
         7        A. The people in the back of the room were saying
         8    this is the program that would make you a success.

         9        Q. Anything else?
     10           A. Which is exactly what Mr. Trump had said.
     11       This --
     12           Q. Did he --
     13           A. This -- these programs, this information, this
     14       education would make you a success.

     15           ~~ N~~~ did anybody tell you that you were
     16       guaranteed to be successful?

     17           in.i Not guaranteed, no.

     18           Q. Can you remember anything else that you
     19       recei ved or reviewed before you decided to purchase the
     20       1,495 program?

     21           A. There was a document that -- it was like a
     22       purchase statement or something that had the prices on

     23       it. There was writing at the bottom, and I -- I signed

    24        the bottom, which is what you typically do when you buy

    25        something.




                                                                    Ex. 42 - 5686
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6052 Page 19 of 98




                                                                                     Page 1
          1

          2                    UNITED STATES DISTRICT COURT
          3                    SOUTHERN DISTRICT OF NEW YORK
          4


               -- ---------- -- - -------- - --------- -X
          5 TARLA MAKAEFF, et al., on
              Behalf of Themselves and                 Case No.3: 10-CV-00940-CAB (WVG)
          6   all Others Similarly Situated,
         7                      Plaintiffs,
         8             v.
         9    TRUMP UNIVERSITY, LLC, et aI,
     10                         Defendants.
                                                                                                  i
              ------------- -- -- - - ----------- ----X                                           I
                                                                                                  i
     11
                                                                                                  I

     12
                                                                                              L
     13                        VIDEOTAPED DEPOSITION
                                                                                              i
     14                                   OF                                                  i



     15                          JASON NICHOLAS                                               I



     16                         New York, New York                                            I


     17                     Thursday, November 8, 2012                                        I
                                                                                              i
                                                                                              I
     18

     19

    20

    21

    22

    23

    24        Reported by:
              ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
    25 JOB NO. 54531


                                   TSG Reporting - Worldwide 877-702-9580




                                                                                 Ex. 42 - 5687
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6053 Page 20 of 98




                                                                              Page 118 i
          1
                                           J. Nicholas
          2    Playbook in your sales?
          3                   It's about a 200-page manual called
          4
              the' Playbook.                                                             i

                                                                                         I

          5
                    A. This is all I used, script. That's                                i


                                                                                         I

          6
              what I'm pointing to.                                                      I
                                                                                         i
         7
                    Q. Exhibi t 2, right?                                                I

                                                                                         i

         8
                    A. Yes. That is the Playbook.
         9
                    Q. Did you ever tell any people on the                               J



     10       phone that Trump University was an ~ccredited
     11       uni versi ty?
     12            A.         No.
     13                       And did you ever believe it was an
                   Q.
     14       accredi ted uni versi ty?
     15            A.         No.
     16
                   Q.     iAnyone         ever ask you?
     17            A.     Yes.
     18
                   Q.     And what           did you       tell     them?
     19            A.     No.        We    --   I'm    sorry.
    20
                   Q.     Any       estimate in the terms of
    21        percentages of call-ins versus call-outs that
    22        you were handling?
    23             A.     I mean I would say it was -- it was
    24        a situation where you have 10 to l5 sales


                                             --- -- -- --
    25        employees and I want to recall that there was


                                    TSG Reporting - Worldwide 877-702-9580




                                                                             Ex. 42 - 5688
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6054 Page 21 of 98




                                EXHIBIT 43




                                                                  Ex. 43 - 5689
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6055 Page 22 of 98



                                                                                                                                                Log In My Cart


        Th'TRUMP                                              Call for a free consultation
                Entrepreneur Initiative                       646-810-7358
               Home            Real Estate Investing    Entrepreneurship             Investing              Live Training         Trump Blog   My Network




                                                                   .llTR
                                                                       __il i1
                                                                            ~~l.i\JLLr
                                                                                   fõ  .
                                                                                       ~ii~'(~W'~




         Attend a Live Event
                                opportnities in
                                                             Find Real Estate Deals
                                                             Get Free access to
                                                             millions of
                                                                                          ~
                                                                                         x.~ ;
                                                                                           ìlOll
                                                                                                                       What Students Say
                                                                                                                      .Simply Fantastlcl.
                                                                                                                      Jim R.
          . . some ofloday's                                 distressed
                                                             propertes selling for
                                                                                            lU1 l-                    .Best course I have taken In my

          ~s:~                                                                            ..                          IIfe/.



              ~
          .ii..i . .'t hollestbusinesses.                                                            ...-
          II Discovernew                                     up to 50% below
          - .1                                               market value!
                                                                                                                      Marial.

                                                                                                                      .BrlllanW
                                                                                                                      Robert W.
                                                                           "'art M;-;~Triãì'

       Abut Us I Instructors I Philosophy I Success Stories I Trump Insider Newsleller I Course Catalo I Store I Privacy poricy I FAO I Contact Us




       '-",1")ï' J i \ r.. 1; T'.l 1,..¡Tt: L .i.. t .:U B




                                                                                                                                                        TU64462

                                                                                                                                                 Ex. 43 - 5690
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6056 Page 23 of 98

                   Trump ApprentIC Adpdl (AnaehlTnt , 012)




                       "Are YOU mv next
                              APP TICE?"

                       Most people don't realize that TIie Trump Orga-         wealth in the United States. In tàc.t, 76% of all
                       nization began more than 75 years ago. It start-        millionaires arc created from real estate.
                       ed when my fatlier-Fred Trump-invested in
                       modest single family houses-the kind found in           New irs Your Turn
                       every neighborhood in every to\\n in America            Are you ready to create your 0\\11 personal
                       Over time, my tàther passed on his successful           "Trumpire?" You can do it! There's no bener
                       strategies to me, Donald Trump. I took them             time thn right now and no better team than
                       and grew Ùlè: family business dramatically, tak.        my tt:m. While some of ihe stratè:gies have
                       ing it to the next level.                               changed, the fundamentals have not And real
                                                                               est.ue is stiIJ-\vithout a doubt-te best vehi-
                       Today, our financial empirt: is diversified. But ,      de to get you there.
                       NEVER stray f3.r ¡rom iei estate. In tàct, i con-
                       tinue to make millions in both residential and
                                                                               A "perfect stoim" has arrived Ùlat can turn
                                                                               those with the right knowledge into million-
                       commercial real estate to this day!
                                                                               aires. Thats \vhy my Apprenticeship \Vorkshop
                                                                               shmvs ambitious adults hi)\\ to become succss-
                       Real Estate Is What Werls
                                                                               ful real estate investors
                       ~1y father's humble-yet profitable-beginning
                       is the kind of grasroots Americ.an success story        If ).ou think you han whal it lakes to be my
                       tbats repeh::d by thousands of amhitious ral            nul Apprentice. come pmve ii 10 me by at-
                       estate beginners e\'ery single year. The trth is,       ttnding one of my wol.ksholiS, ""e"i1 teach
                       real eslate is STILL the number one path to             )-'ou how (0 succeed!




              o-\~
                   i
                                   MONDAY                                   TUESDAY                                 WEDNESDAY                                   THURSDAY
                   I
                   I           February 4th                             February 4th                               February 4th                                February 4th
                   I         1 :00 PM & 7:00 PM                       1 :00 PM & 7:00 PM                         1 :00 PM & 7:00 PM                           i :00 PM & 7:00 PM
                   I
                   I                                                                                                                                            XXXXX, FL
                   I
                                 XXXXX, FL                                  XXXXX, FL                                XXXXX, FL
                   : The Westin Colonnade,                         The Westin Colonnade,                      The Westin Colonnade,                      The Westin Colon  node,
                   : Coral Gobles                                         Carol Gobles                            Coral Gobles                                  Coral Gobles
                   i
                   i        180 Aragon Avenue                         1 80 Arogon Avenue                         180 Arogon Avenue                            180 Aragon Avenue
                   I
                   . - - - - - - - - - - - - - - - - - - - - - - - - - - - - -ee~fiVfN1~~ - - - - - - - - - - - - -- - - - - ~trff4~ - -_.
              Regí$tr.t1on begins 30 minuts pnor to the strt of danes. CLisses begin promptl at the sdiedukd time. Mr.Trurn wil not :ippe:ir at the e..ent.



                                                                                                                                                                                   Ex. 43 - 5691
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6057 Page 24 of 98




   Real Estate iiivesting semina i Rea ESlate Investing Semina -...                          http::iwww.inunpuiversiiycoiniseinars!profil-from-real-esilL ..




                   Learn from the Master
                  Jtyou are ready to be the boss and build your O'VN business, let     Trump's team of
                  experienced traine~ help you succeed. Learn proven strategies of     the master             Find a Trump Class
                  entrepreneur, Donald Trump. Whether you are an cxerienæd entrepreneur orjust                         Near        You
                  geLting star Led,   our cu,tüm programs are designed to meet yuur specific needs.

            . ~"'.~"~
                                                                          The Time for                        ¡ Enter zip code
            L7""':'::'../"""
           fl"'ExISTING HOME SALES
                                                                          Action is NOW                                       (G~-)
            i SOAR IN MARCH!
            ~
                                                                          7(;% of   the world's
                   ---~;;(ltí(mI11 A.~;;-;i;ii;;'~;¡ii~~ltors,            milionaires made their
                                   A¡iril 22, 2010 .._...._.__......_
                                                                          fortunes in real estate.
                   Exb-tlg hoine sal,~~ ra;e bst ii~)~~h 10. a            Now it's your turn.
           :1
                   s"ilsonally ...iju~ted 1I1mua rille of .....~ milh~n
                   uTils, up from the ri"\'i;wd rate c: 5.t "ill!or,~m    Times may be tough but the
                                                                                                             Minneapolis, MN
                   F..-i)ruiiry. Siil YN'N'~,(.T.~'ea "'ere up lb,l"",    opportunities for entrepreneurs
                                                                          have never been better. The real   May 25,2010 - May 27,2010
                                                                          estate upturn is finally startng
                                                                                                             Learn r\fi~re .. Re~i'.ler H
                                                                          to take hold and now is the time
                                                                          to take action and profit on the
                                                                          recent dramatic rise in home
                                                                                                             Baltimore, MD
                                                                          sales. Don't miss out on this
                                                                          wave of Dpportunity.               Jun 1,2010 -Jun 3, 2010


                                                                                                             l..am tvlorè " Regislcr"


                 VVat our students are sa)ing                                                                Washington, DC
                                    "We're confident that our hard work coupled \\ith the                    Jun 7, 2010 - Jun 10, 2010
                                      top-notch training frm Trump U wil prompt us toward
                                      greater tinancial success."Ante and Marla C., St. Louis,               Learr \.lore : ReLri,tcr"
                                      Missmiri
                                   "Trump II is teaching, inspiring, and motivating people 10
                                      achieve their dæams and sliape their destiny."Anthony S.,
                                      Vancouver, Canada




  2of3                                                                                                                                      5126/10 1:13 PM




  CONFIDENTIAL                                                                                                                              TU-PL TF0221 0




                                                                                                                                             Ex. 43 - 5692
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6058 Page 25 of 98




  Real Estate investig semina i Rea Estate Investing Semi -...              Imp:! !www.mimpuiversity.coiniseiiars!profit-from-real-estat..


                           "We attbute our wonderfuy successfu business to the
                            training we got frm Trump U and we look forward to our              PortandlAugustaangor, ME
                            continued rclationship."Steve P., Saratoga, ealifoniia
                                                                                                Jun 8, 2010 - Jun 10, 2010
                                                 "It's "iraly impossible to
                                                                                                Lea:-ii :-101"'. i Regi,;ier "
                                                           succeed without an
                                                                         education. "




                                                                 ~
                                                                                              Abou' Us InstrClGlors Philosophy Succ:¡"s
                                                                                              St('j"ies Trump Insider N\JwslellE'l ~
                                                                                              Cai:ilog Star" f'va..,y Pc'lic\' Fiie)
                                                                                              GQ.!S;H~t-Lb.
                                                                                              ~ï FiiCelX':-1; j,;H Twitt~r ¡¡ Linkdln
                                                                                              YouTube
                                                                 Donald J. Trump - Chairman   Copyright  '1) 2010 Trump U
                                                                                              L~..~~~~.u._R.~j
                                                                                              THUD DAlL"" ~¡)~"Al.




  30f3                                                                                                                            5126/10 1:3 PM




  CONFIDENTIAL                                                                                                                     TU-PL TF02211




                                                                                                                                       Ex. 43 - 5693
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6059 Page 26 of 98




                                    - iijñveštops Nationwide
                                       ape Making Millions
                                         in Fopeclosupes...
                                                                        AND SO CAN YOUI"                                                    ... ..., '. - ;.:-~ ':i_:.'~';2.'.-~.. ".,."-: '
                                                           gig,mony deis in tod's real estate irrket are ripe lor the picking.
                                                           wtite you may have read Ihalthe make is 00. th current explosion in
                                                           real esate loreclosures ac!y presnts a once-in.a-iifelime opportunity
                                                            to irke high.,ollar profis on q~ick, low-osl deats.

                                                            Foreclosures snad 94"10In 20071' This booming segment 01
                                                            th real estate market ha rmry Invelor peing up... and so should
                                                            you. With the righl leacher, th right knowledge, and the rignl srralBlies,
                                                                                                                                          ~!il~i¡i,,~l~~r;'l
                                                                                                                                          i0n\ny"ln YOUhrla'?~i'ay fo.bèpÜlcl\sedfar.~eloW market ..
                                                                                                                                          :v;llie anu safd ..gii. In nearly all my years 01 detectino the mosi '.
                                                            anyone can make th kind 01 real estate deals you only se on television.
                                                                                                                                          . ..lùcràivei~rinl trénds;1' be ~ard')iressed tóllnd a.hollr
                                                             Wheer you're a seoned rel esl3te inV9lor or brand new to the game
                                                                                                                                           -lnYB~;.l~~EJis~~1L";2',:'"",
                                                             and looking to secure your firinciallulure off a couple 01 deals... real
                                                             es1ale foreclosure are the new 'ir investmel But like all god
                                                             things, this wldoll iato big-time IItb woa't be open                               .Jirl!~osiira'iÍ1iíirtJes
                                                             foreer. So if you're ready 10 make your move, my foreclosure                      lr)flièl ll(ii'¡:t~ãl)ìeaP. "'.::':;:.
                                                           Investing syslem givs you the lools and resources 10 make enough
                                                           money - in jusl one del- to change your financial fulure.




        '7'm going to give you 2 ho/J 01 access to one of my amazng
                                                                                                                                                       .~
                                                                                                                                                        . ..-
                                                                                                                                                            ." .. . ..
                                                                                                                                                                    -.
                                                                                                                                            3.Jilgh,qt'rfiYïiroiiert-YOU'dtistòck'jQ . e;oiid~r:.- .
                                                                                                                                          . ,ë~:)hçirst be'uillulh.Qúsei_aYa)lable1soriiray ~çrrbB in your';',
       inslluctors AN pl'lceless inlol'mation.." all                                            101' FR "                                 :"d:'nè¡gHi6rtondi-at~rotec!.ôs~~!. ... . ... .... ."



       5 strategies you'll                                                 learn:                                                         ~' Uoreclosurešrose 94Q¡'lrito01i'aridÜm:f ,/,'.
                                                                                                                                           d,conllcientifiey wmleep ìlsing;'This.flgli:Völurielrend '
       1. How 10 Find Foreclosure Opportunllies in Yuur Geographic Area: Take advantage ollhe hot iovesling                               ",'~ii.!lrìsyóiÎWinlbe šeãrchl'1ÌfQr.avallablê dears. YoüjustneB!
          OPPO!1uniiies in your neighborhood before anyone else does

       2. Huw LU Offer Distressed Homeuwners a Way Out: Learn how to be a hero to homeowners who can'l
          afford their adjustable rate morlgage payment.

       3. Financing: How to beefit lrom
          speili. source 01 seed capital and
                                                                                                                                          ~ii~~~~l~~I~~
                                                                                                                                                            6ve(ytfiing ýoo:riédlCY et štärìooOfyiiu(¡ítÌJö .'t
          putlogelher your own creative
          financing deals.                              Not one
                                                            just of
                                                                  anyone  can be
                                                                    my instrctors
                                                                                                        y,
                                                                                                        ..~~
                                                                                                           ..t'~?c''-
                                                                                                               ~~~'                                       th :alrnYJorelå,sùiêiiie1!egiserøow -l'
                                                                                                                                                       umpUNY;còiiiiircall 88 UMP'04 toify;.,,_
                                                                                                        "it"
                                                                                                          ,"" -"",                                    ,t,:,,~,:~;';d,.;:; "0 Ü801)/d".dt/ .
                                                       It taes a superior level of                             'f.\.4E-iL-
                                                                                                                      ifF' ,..
       4. The Phases 01 Foreclosure-                   real-world e'perience to have                            ~-.J\~ . -¡:;
          Fullowing Ihe Foreclosure
          Clock: When 10 maKe a move and
          how to capitalize al every stage of
          the process.
                                                       a chance to spea k In fron t of
                                                       1hp University students. My
                                                       intrctors have to practice what
                                                                                                       .- .'...,
                                                                                                              \~".$
                                                       they preach. And through their experience, theýre anmed with the
                                                                                                                                                             0__ _ ..0.... . --
                                                                                                                                                     ._o..____c
                                                                                                                                                             ""
                                                                                                                                                    ,Gel started on the patt to weatlh with
                                                                                                                                                    :a free digital copy 01 Donald Trump's
                                                                                                                                                      Catch The Wav: How TiminlJ Can Make
                                                       knowledge to teach you the'strtegies to be successfuL. When you                                You a ForlulJ in Real Estate Tody.
       5. Whal to 00 Once You Have Ihe                 come to my foreclosure orientation you can be cer-.an to hea frm
          Propert: Do you renl, renovate, or           men and women who are currentlv mak~ mon'O investing~                                        . This valuale reource Is
          sell immediately? Learn what's best          estate and want to teach you how you can too.                                                 Jours lree lust IDr atnding
                                                                                                                                                    :the Trump U forclosur
          for your specifIC situation.
                                                                                                                                                  . _,.orienlillon,



                                         Register          Now     at TrumpUNYcom
                                                                  or call 888- TRUMP-04
                                                                                (87867)
            Salunly, Mar I, 2008
                10 8J or3 p.m.
                SADILE BROOK
                   MARIOTT
                  138 ""hie Ave.
                                                Sunday, Man:h Z. 2008
                                                        3 p.m.
                                                     RYE TOWN
                                                       HILTON
                                                 699 WOOcheste, Ave.
                                                                                Monday, Man:h 3, 208
                                                                                    1 p.m. Dr 7 p.m.
                                                                                      NEW YORK
                                                                                  ROOSEVELT HOTEl
                                                                                     45 Eas45t1 si
                                                                                                                  Tuesd, Mah 4, 2008
                                                                                                                       , p.m. or 7 p.m.
                                                                                                                          MElILLE
                                                                                                                         MARRIOTT
                                                                                                                  1350 Old W.~ WhI1.n Ad
                                                                                                                                                    'TRUMPU
                  Sad~ Brok                           Rye Brok                         Ne Yorl                             Melvil~
                                                                                                                                                                                            TAU116TAMo.New yo.. M.
      "ACCdlng 10 CNNlonit
                                                                                            c 0 ~fErr~ NiTff\t"

                                                                                                                                                                                        TU 1 02922



                                                                                                                                                                                               Ex. 43 - 5694
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6060 Page 27 of 98




                                                                INVESTOR ALERT:
                                                         FORECLOSURES UP 94% IN 2007*




               "TODAY'S MORTGAGE MELTDOWN IS AN
               INVESTOR'S PARADISE..."
                          'I've se just about we ty of real este marlet and I've
                          made mone in th all. Recentl, the forecosure real este
                          marlet has been making my students ri like neer before.
                          With my strtegies yo too GIn find beautful hoes for 20%,
                         40%, even 50% beow market value.


                                  At my foreclosure investing
                                    orientation, you'll discover how to
                                     find these deeply discounted homes,
                                     how to buy them. and how to sell
                                      them fast for substntial profi H




                                                    ~ -.
                                      TRUMP UNIVERSITY ORIENTATION:
                                       FAST TRACK TO FORECLOSURE INVESTING
                                  For th fut tie ever, Trump Univit has developd a complell iea estall foreloure inveg syte. You can use my profrr
                                  strategies, riht away, to buy and sell real ",Ie fored05ure prorties in as little as 30 days. its a hot market and to take full
                                  advantage you need to act now. If you want to knw th best way to buy low, sell high. and walk away rich, th ~
                                  sctedul. and do whteer it taes to ~.t to my orietion




                  FAST TRAC TO FORECLOSURE INVESTING                                                FAST TRACK TO FORECLOSURE INVESTING
                 Seturdiiy. MlIrch '. 2008 Mcwdey. Maroh 3. 2008                                  SltŠ~ru'B~~K~.~~008 M~y~=~.~'tl~~l8
                    Sadl_ Broo ..iUton MeW' Y-i RoGswe11 HOlel
                      138 Peh~ Ave. ~5 £asI45- St                                                         138 Pelil A~'e. 45 El 45- St.
                      Sadle Broot, NJ Ne YOIt. NY                                                                     PM 1:fP", l:tPM
                                                                                                         Sale Broo. NJ New Yock. m
                                                                                                      11 M..d     1:00
                    lÐ:Ø AM .nil J. PM 1=0 PM ud 7:1 flM
                  iindøv, Mørch 2, 02008 Tueul.v. March 4. 200e                                    Silr\dey. Marçh 2. 2008 Tu.sdly. Moreb 4. 2008
                      Rye TIM. HiIOl ".lvlle Marr                                                        RfITnwli Hihon MeMII.lhrrictl
                     633 Wldlltl!Seer AYf. 135 Old V'hlt\'Vitin Rd.                                    69 We.tter Ave. 1350 Old Wali Wtiilmen M
                       Ay Brook. NY Mflille, NY                                                           Rye
                                                                                                           3:00BrPM
                                                                                                                  NY1:0
                                                                                                                     Melv:~e.   't'YPM
                                                                                                                        P' ud l:Ø
                        UKI'..   1:OlPM"dl:00'~O"


                                                                                                                                                              TU 102921



                                                                                                                                                                    Ex. 43 - 5695
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6061 Page 28 of 98




  Master9.pdf (Attachment 1 of 4)




                                                                  Learn from
                                                                 the Master.
                                                                 :,t2At:tend a FR~E'Trump University
                                                                 ;:,:~, ".' '. Reëll.,l;~~,;lte Workshop -
                                                                        Let Trump Experts teach you the
                                                                        master strategies of the world's
                                                                        most successful real estate investor.
                                                                        . Buy Bank-Owned Properties at deep discounts.
                                                                          Invest for long-term gains, positive cash flows, and
                                                                          passive income. ,.
                                                                          Generate quick cash with buy-and-f1ip deals,

                                                                          Get creative financing to invest without risk,
                                                                          Locate buyers and investors to create recession-
                 "I can turn anyone into a



                                    ~
                                                                          proof income.
                   successful real estate investor."
                                                                          Analyze deals, make offers, and negotiate like a professionaL.

                                                                          Identify profitable investments right in YOUR
                                                                          neighborhood.
                                    Donald). Trump
     ;. Chalrmon, Trump University

                                                                                                                    i: ~J!~~'t+
                                                                                                                      .. ;:;:::: .("I'~;.~:...::


                                                                                                                      ~~ .
                                                                                                                                         tOiæ--

                                                                                                                      -l~. '!_~~.~w~: 'w.
     ;~~j~~;:~~~~~~~~it.;;3¡ici:r;I;tRf~r;~gi~Î¡~\1t~'                                                                ....""
                                                                                                                         Thursday, November 19th
      .~(:; ?Nr~àiid, .' Sunday, November 15th Monday, November 16ll Tuesday, November 17th Wednesday, November 18t      HamIlton Park Hotel ..
       .;' i~ngjsjänd .:, ~::~:~~:~I~ ~v~~r~:tt ~~nc~~~~~fi ~::: ~o~~':~i::drrlott ~~~r:.~~:~:~~n Hotel                  Conference Center
                                                                                                                         175 Park Avenue
                                                                                                                         Florham Park, NJ 07932




     ::!j¡tli~¥~,':-~~~;;:,;~..~1~~~~~~~~~~~~~: '




                                                             CONFIDENTIAL                                                  TU 102423


                                                                                                                                   Ex. 43 - 5696
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6062 Page 29 of 98




   Real Estate in\'esÙlg semina I Rea Estate Investing Semina -...                    Imp:! iwww. rnimpuilÌ versity.coinseinars!profi i-from-real-es taL ..




                . \1\, Cart
                . Log In or .Join :-lo\l I
                . !i;~iJ&¡l.!'Q.Ç.ßn§.ç!jêl..iL1f




            TRUMP
            C.aLL for a free consultation
            88.826.5953

              ~--~--I(SEARCHS)
                . Home
                . Ri~al Estate Investiig
                . Entl\'l.m,neurship
                . Investin¡¡
                . Live T¡-iniiw
                . Trump Bloc
                . !'.1\1 Network

                . A~,;i; Pr,~teclion
                . Real r,staie Im'est,n¡; Work~hap
                . No Money Down Real Estate
                . Corr¡tnereid I~eai Estate in\r(~sf.in~




             This is the Best Real Estate Investing
             l\Iarket in the History of Our Country
             Needless to say, this buyer's market is nol going 10 last forever. That's why you
             shouldn't pass up the opportunity to take advantage of the down real estate market
             and make serious profits by im'esting in distressed pmpel1ies and properties in
             f orcel os urc.

             I've made my millions in real estate investing. Part of that strategy was foreclosure
             investing. Noiv I \Vant to leach YOll the metliixls thaI will help you make yonrs.
             Don't miss Oiit. find and regisTer for a FREE w0rkshoF in your area.




             ~
             Donald 1. Trump
             Chairman, Trump U




  1 of 4                                                                                                                                 1119/10 4:00 P~'f




  CONFIDENTIAL                                                                                                                          TU-PL TF02201




                                                                                                                                         Ex. 43 - 5697
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6063 Page 30 of 98




   Real Estate investing semina I Rea Estate Iiivesting Seminar -...                   http::iwww.munpunversity.coinisellUJars!profit-from-real-estat ..


             \\lhy Invest in Real Estute?
            The real eSlate market moves in approximately 20-year cycles. Right now we arc in a Down Cycle so prices are low and ths is a
            buyers market! This is the perfect time to invest in real estate because there are currntly thousands of under-valued
            properiies--niany in your area--ready to be purchased far below market value.

            The recent rise in distressed properte, ¡, an anialing opportunity for you to achieve the privileged life you've alway' dreamed
            about. The key is to tae advantage of these conditions NOW before the market       takes an inevitable up-turn All you need are the
            Trump secrets and strategies to help you plUfit from these liistoiical imirkct conditions!

            Learn flow To Becoim~ A R(.~al Estate Investing Expert
            Ask YOUl-selfSome Questions:

                 . Do YOli need more money?
                 . Do you want more time with youriamily?
                 . Do you need more cash for your retirement?
                 . Do you need additional income to pay for your children's college?
                 . Would you like to get rich AND be your own boss?

            If you answered yes to any of these questions YOll owe it to yourself to attend the FREE Profit From Real Estate Investing
            workshop t.o leam how to reach your financial gmls by investing in real estate. Trump lIhas analyzed the markets and developed
            Si)ecific fol'eclosUl'e investing strategies and techniques tht are designed to work in today's economy.

            When you attend the FREE Profit Fi'om Real Estate Investing workshop YoJu'li learn real estate invcsting strategies that will
            help secure your Ij¡iancial future. generate additional ineome, work less, and create more wealth. Some of the topics covered
            include:

                . j low to Locate Great Deals, Great Neighoorhoods, and Great Properties
                . Distressed Property Strategies and forecloslIre investing
                . Contacting and Negotiating with Owners
                . Financing Yom Deals
                . \Vhat to Do Once You Have the Propei1y
                . Quick Turning Imestments
                . Eyjt Strategies
                . How to Generate Additional Inl'me and Get Out of Debt
                . And More!


            'Who Should Attend This Workshop?
            No matter what yaur level of investing experiencc--you will lear the strategies and methods it taes to become a successful real
            estate investor. If you are interested in making money in real estate imesting you need to be a palt of a FREE Prfit From Real
            Estate Investing workshop. Regular attendees include:

                . First-time and experienced           . ¡ nsurance agents
                   real estate investors               . Financial planners
                . Real eSlate agents                   . Attorneys & CP'A.s
                . Mortgage brokers                     . Prperty managers
                . Former stock investors               . Contractors



            If you don't see an event in your area. don't worry. We add new evcnts and loctions to
            the schedule .often.

            If you're not already a Trump U member, fill out the form below, and we'll notify YOll
            when our next event comes to your town.

                                           PERSONAL INFORMATION



  :! of 4                                                                                                                                1!l9/1O 4:00 P:M




  CONFIDENTIAL                                                                                                                           TU-PL TF02202




                                                                                                                                          Ex. 43 - 5698
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6064 Page 31 of 98




   Real Estate investig semina I Rea Estate Investing Seniin:r -...       Imp:! !www.tnunpuiversity.coiniseiniars1profit-from-real-esrat..


             First name
             Uist name
             Einail
             Postal
             code


                                                             Eiii
                                                             ,.c. J,,,~

            Find a Class Near You



            :Enter zip code                           ,m
            Upcoming Events

            Washington, DC
            lan 17. 2010 - lan 21. 2010
            Lcam More ¡ Rq'istcr "

            Biillimor., i\1D
            lan 18. 2010 - lan 21. 2010
            t:&êI!L~j~~.r~l.-t~l'ai~;l:l:..~

            N('wYork/Ntw JUSty
            lan 24.2010 - lan 28, 2010
            l.-ea:TI -'.lore ¡ Register"

            West Palm Brach í Bocil Raton i Jupi1.r, Fl
            Jan 24, 20 I (J - Jan 27, 2010
            Lt1!D._)2DL\'_!.Bi;.L;¡s;I..:'.

            St.arn I"nrd C'l I ""f'~t('hrslr. 1",'
           lan 25. 2010 - Jan 28. 2010
            1'J.'am -'.tore ¡ RCfist('r "

           Miami, FT.

           .Ian 31,201 0 - Feh 3,2010
           Leam \'Ior(' ! Het'ister."

           San Die¡o. CA
           lan 31,2010 - Feb 3,2010
           Learn \.loH~ ¡ J\eÖ'ltr (.


           Soo Francbtø. CA
           lan 31. 2010 - Feb 3,2010
           Lea~Ti \.lore i Re£i~ter ))

           San Jose, CA
           Fi~b 1, 2010 - Fcb 3.2010
           L.t:.D!_~1Q!.~..::.E~.Kj§.~"E:~

           Tfimpii. FI St. pptersburg. Fl SlIlfiSöt.a Jo'L
           lan 31.2010 - Feb 3,2010



  3 of 4                                                                                                                l!19!l04:00 PM



  CONFIDENTIAL                                                                                                          TU-PL TF02203




                                                                                                                         Ex. 43 - 5699
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6065 Page 32 of 98




                          c
                                                                                                                                                           r----'-'_._'--'j
                 G~aU
                  ~:,\:t-i(:-~~"¡e
                                                                                                                             Hae~in Jo 4iJSP_~~~~~~~¡


                 Only 1 More Day
                 1 m~sa:¡
                 Trump U cnore£ll'~umpunve"'il.co.                                                                                  Sun, M.r 15, 200 .t6:18 AM
                 Tc hiace(R~~_~t~¡
                  ,Fäšit iii~:'~o'Fëiii;¿¡ösiic-in;..~r:g'~- irnmfi"If"



                                                                                            ¡:




                                                                 We nope ~'oore Dtg!m't~g tn. see \A..at an unuUal (aM Um¡SUaiiy lucmtv) tim It I' to
                                                                 bec~ 1I roed~;.re inve1.tor. The "Perfect ~rr' of !MttY~ in the re:': e5l1te rnrh~1
                                                                 is cii=aling a perfect oppounity 10 a.~Üi: pro~~.'~ wttt tiek." martei vatue .i::out
                                                                 ~ven Ilavirig tv pay higt interest r.t.es.. INl='Vé sh~'#ri you ho lored rate.. an:
                                                                 fo'Mte( prces a~ maJ.,fl~ iooays marKel betrr tn e\ier. bu tnere's ~ti one e'tenl
                                                                 yo need In im.. abOut
                                                                 Tb"'y'. lo;.: Suppl.
                                                                 ~ um~ wJl IflU:\: i.vl ¡wr'lfwJ Oft the wii ~~lõ;¡t lkmJ'~üJlIl it t).llII tililC aUt).
                                                                 rrenj'    or the~ ~re un..e~rec fo whnt !illPpeec ne. H.r33i:M ~ ID'2. a~ n~'
                                                                 we ,s.ee th :S.13ns tlt should hóN£ ben app~enl to people ~1m agr 10 pa)' mor&-
                                                                 rnohay tor !helr homa. than t~.V ever ~hould Iuve

                                                                 In a ti"" ~tie" ~"'U"l s. 50 easy. 00 m", pi..led that loe i,:iom ,ould rail oui.
                                                                 But !he tatlm mat enured lnal en was suoy. I..'" hos tl'tinuff io ~ lJln. aM
                                                                 e\:enlu:i!ly suppy snf pa deman. IE3\r.g too ma peoçie hoclng rrr1ag~ lhey
                                                                 (ooori arr::mi. lr.s rias .cau~o nam 1Il,.aS'~ se me-lm:reaSf in nomC'oes
                                                                 eritering bOtt prttor o:sur~ i:nd a.:tua fc:.recloüre. The S.1!l.ëfl.;)n is t)al en-,ugh tha
                                                                 the:" S govrnmet tã de~tìr,~ \Vhal i1 i;.:n do to he p tile ,,¡cbm 01 the c.rbi5. 001 in
                                                                 the rne1ntime ,hl!,e is ceruinly 5Clhing th.t 5mrt for..loure invntnA an
                                                                 00.

                                                                 For Peuple wI10 .apenj on setrl)l thJ!:r hGis to ge a Se(vn~ c~, foreclOSUÆ                                   l,i
                                                                 invelOf can be the bel ~wer 10 -a d1ficu:t pmtiem. At )i.Q1I Fllt Track to
                                                                 Fo~-lsur. Inv..üng - a free inlwdutlory clan, 'ce'a shOl you hoo.i 10 t:as~ o1hen'
                                                                 r:na~;al pam whle Iri'Sunng yo; O\n Slc'ess.
                                                                                                                                                                               Ii¡¡
                                                                                                                                                                               i..
                                                                 And YOtin IX able to tal:i2 advan1ag of a ~ugi: suppy ct pr~perties mere tria!" ever
                                                                 befo~e - to stakf')'Our c.laim tua Oettr i!re                                                                 ¡~~
                                                                                                                                                                               I":$1
                                                                 YOl; h~ve the elillTr'ts now o11ne current "Pvrfect StGrm'"
                                                                                                                                                                               ! :1
                                                                                                                                                                               i'$1
                                                                          . LOlEREO INTERESTRATES
                                                                           LOWREO ~RteS                                                                                        i:~
                                                                                                                                                                               ! :~
                                                                          . HKlH $UPP Y OF PROPIiRnliS


                                                                 Ttiese inres events are n~tjng money 'InClOaf$ rO'e~w-e irr"eso~~, ana you can
                                                                 lean att you re t:. prom to;Yl.Jst by atending ."our fas Tract to Fcretl.jsure
                                                                 l0Yting - free înlroou:trn cfass

                                                                 Oon't le tnls ;.nlqe oppounty sitp past you. Do't           delay and flrid ;'Or511 an tti-e
                                                                ..1'OhO !itrw n1 iv~ P.~~p.I1::!lnn.; Tnt i;Thp.~ -ln~ i~ynm:im _ ;¡nl1Tniin¡i II
                                                                 IS reaíti to 5;10..' yoJ tiox l) ma~ yor ¡ife bett9r.

                                                                Se ì'U soon at )"ur Fat T~ck to Foracloiur. Inveiting . fret ~ntixuclo~~ class'




                                                                p.s.:i iri Hn~ al" DCallon.s lis1ed in tf~ e-malF no foriger 11 )'GlJscr.i:iH, yo~i musl
                                                                s€fe~ ~i:u~ airnatve tt aM lOation new.
                                                                                                                                                                              f1i


                                                                Yo," can Y'ew a tullll.1tlrtl' t't ctirtraininC! f!"!nt~ l'f!r~ Qr call fool1 ii~s..g5a
                                                                                                                                                                              r !i
                                                                                                                                                                              i ~$1

                  10 tnsu ii.31 tOO oc~nJe i:i rp~~'9 ernc.ll£ rr~m us, aoo ~M!,;il.::"JH:XP.~":Nltjr-.~lll0 't1Jr ciooes~ txOl iaar                                          ¡~
                                                                                                                                                                              ¡:ti
                                                                                                                                                                                "
                  You arfl recl'''~11 itis p:m3ll trOlff Tf'J'T U ~;:-e'.&'ln:.! 8¡)~'3aiOfld Ql' (tWW'~!l. macH a pUfC'aSl. tr Wlr! ot'eiwse.i c-.:ct.Id wit', i..           I'..."
                  1trlnk )"r.J f::r ~riu( ~MIt.,ridge                                                                                                                         ¡;~
                  1 rwnp U. 160 (;rN"f1"e~ Dr... .sjJiI~ 1(1':. Dti'.r Di!lA""'3fj! 1~t..                                                                                     i ;~
                                                                                                                                                                              1&
                                                                                                                                                                              i:ii
                                                                                                                                                                              !..~


  CONFIDENTIAL                                                                                                                                                                         TU-PL TF02078




                                                                                                                                                                                        Ex. 43 - 5700
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6066 Page 33 of 98




   Real Estate iii\'esung semina I Rea Estate Iivesung Seinnar -...   Iirp:: iwww.inimpun\.ersity.com/seinars!profii -from- real-es tat..



                . \:!y..çf!
                . Lo¡: In Of .loin Now
                . Switcb to Canadian Site




            TRUMP
            Call for a free consultation
            88 826.5953


              ~---'-"-"'--'-'--'---"-'---------l ( Search)

                . Home
                . E!ti.!.E.âl~Jt.Jl1Y.fgL1g
                . Entl\'PTmlC'UrfhlP
                . lm'estinp

                · tÜ't~.I:9il!ii!g
                . Tnmip Bloj;
                . 'viV Netwofk


                . A';set Protection
                . Real E,Ii,Ie fnn"tin" \\'ork,h;:i¡
                . o   iiirm,rGiaJ Real Est."I" IIl\'e,,ilig




  1 of 3                                                                                                              5!26/1O 1: 13 P1vf




  CONFIDENTIAL                                                                                                        TU-PL TF02209




                                                                                                                       Ex. 43 - 5701
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6067 Page 34 of 98




       ~
       .~
       t  ~
          ~ ~
       g.;:.:C:"n:s:g.$.g~:t3'~U~~:::;~~~'~~'s:~¥t~;a..'jß"Â~'s~;'J':¿::;.:..~~,y;-~ZlS'~~\;).:fg:.øÚ.;i£.3..~~:;:~Ll.;-S;;;..::~~.~~::;;~~d-'¡t,tz,l:G;',,;;~~::~.~:':9Z:S::¿..;:-1.S~'.-r~:.(~?~~;J,.::;.~J'''~';~:;:$.s'i-~~-s~,~'':~,~~~~';':~'t,";;:;;::~




       ~  ~
       ~ Dear
       ~ I am personaly inviting you and a guest to a powerf wealth-building event that ~
       ~ can literally change your life, and get you out of the rat race forever. When I speak, ?~
                                                                                                                Friends, ~
       ~ people listen. And, when I send out invitations, people attend because they know .~


       I that my invitation means one thing - there is money to be made. ~
       l When the real estate bubble was building I told people not to buy, but many of them ~
   :.~, tellng people to buy, buy, buy. In al my years investing in real estate, I think this .,~~.~.
            is one of the most lucrative investment opportunities ever. Banks are selling ~
   .'S foreclosed properties at pennies on the dollar. The trick is knowing how to invest ~.

       is profitably. And that's where I want to help you. ~
   I didn't listen to me and now they're paying the price. In today's down market I'm .,


                               I am sending o~e of my world-class instructors from Trump University to your
                               area to teach a. class on how to profit trom today's real estate market. You wil

                               how to:
                                                                                                                learn                                                                                                                                             IlA




                                            · Fìnd income producing properties right in your area, at up to                                                                                                                                                       I
                                               50% below market value                                                                                                                                                                                             g
                                            . Close deals in 30 days                                                                                                                                                                                              ~
                                            . Fund your investments using other people's money                                                                                                                                                                    ~
   I~                                       . Negotiate with banks the "Trump Way"                                                                                                                                                                                ¡
                                            . Conquer your fear of getting started, by simply following my                                                                                                                                                        ~
   m                                                                                                                                                                                                                                                              ~
                                                 Real Estate System
                                                                                                                                                                                                                                                                  ~
                                                                                                                                                                                                                                                                  §
                              My team at Trump University has developed a proven system                                                                                                      for profitable real
                              estate investig that anyone can use, right away, to score big profits in today's
                              market. If you want to know thc best ways - my ways - to buy low, sell high, and
                              wal away rich, thcn clear your schedule and do whatever it takes to get to this
                              exclusive, invitation-only event.
                                                                                                                                                                                                                                                                  I
                                                                                                                                                                                                                                                                 .~

   !                                                                                                                                                                                                                                                              I
                              I have enclosed two complimentary VIP tickets to give you and a guest the
                              chance to learn how to create wcalth the "Trump Way" and I encourage you to                                                                                                                                                         I
                                                                                                                                                                                                                                                                 ~~
                                                                                                                                                                                                                                                                  l¡
                              attend. To confirm your reservtion you must call 888-878-6709 or log onto



   ~   ~
                                                                                                                                                                                                                                                                 ,.
   I                          ww.TrumpULive.com Seating is limited so RSVP today.



   I ~
   ì


   ~   -
   ~ateie ..ave - 1 a v ee. I
   ~
   I Pc.S. hAths a ,S¡;eciaCl DgiftRIoaMm cgiv$i5nOg calvery) attendee a free copy of my blockbuster ~

   ~,wJa~4.w,¡~&~..,w.);''':~~~':l'~X';i¡.;~:;giW.;~~~:æ~~:e'æÇ.~'w,r&'~~~~~,~æ:i-m~~&~~~,æ:æQl?i,~'&r-R-W;;"æ~



                                                                                                                                                                                                                                                                 TU 62081

                                                                                                                                                                                                                                    Ex. 43 - 5702
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6068 Page 35 of 98




                         EXHIBITS 44-45
                        Pages: 5703-5747


                       [Filed Conditionally
                           Under Seal]
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6069 Page 36 of 98




                                EXHIBIT 46




                                                                  Ex. 46 - 5748
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6070 Page 37 of 98




         1 UNITED STATES DISTRICT COURT
         2 SOUTHERN DISTRICT OF CALIFORNIA
         3
         4
              TARLA MAKAEFF, BRADON KELLER,
         5 ED OBERKROM, and PATRICIA
              MURPHY, on Behalf of Themselves
         6 and All Others Similarly
              Situated,
         7 No. 10 CV 0940 lEG (WVG)
                           Plaintiffs,
         8
                  vs.
         9
             TRUMP UNIVERS ITY, LLC, (aka
        10 Trump Entrepreneur Initiative) a
             New York Limited Liability
        11 Company, DONALD J. TRUMP, and
             DOES 1 through 50, inclusive,
        12
                           Defendants.
        13
        14
        15
        16 DEPOSITION of TARLA MAKAEFF
        17 San Diego, California
        18 Monday, January 30, 2012
        19
        20
              Volume I
        21
       22 Reported by:
             Kae F. Gernandt
       23 RPR, CSR No. 5342
       24 Job No. 130455
       25 PAGES 1 - 282

                                                                               Page 1

                          Veritext National Deposition & Litigation Services
                                            866299-5 127




                                                                                 Ex. 46 - 5749
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6071 Page 38 of 98




         1             Q.   What acting work did you do?                            11:31:34
         2            A.    I did body-double, hand-double type

         3    work.    I did improv theater at a theater company.

         4            Q.    What years were those?

         5            A.    It was right after college. So, I                       11:31:51
         6    believe '96      1996, perhaps.

         7            Q.    All right. So, can you give us a

         8 general description of your employment after you

         9 graduated from college?

        10            A.    I worked in the acting production                      11:32:13
        11 business for perhaps a year, half a year. Then I
        12 worked for two marketing promotional companies.

        13 Then I started my own business writing, Fusura

        14 Creative.
        15                  And during that time, I partnered with                 11:32:41
        16 someone on a shoe line called Hera Couture. That's
        17 H-e-r-a. Then we dissolved that business, and I

        1S started Tarla Couture. And then I started fit
        19 modeling.
        20            ,Q.   Whan did y'ou start Tarla Couture?                     11:33:03
        21            A.    It i s when_ -_- J_. J. ,Çhilders incorporated
        22 'tnat company, so I i m not sure of the - - the dates on
        23 that.
        24            Q.    Were you doing business as Tarla Couture

        25   before J. J. Childers incorporated that business?                     11:33:27

                                                                                  Page 40

                             Veritext National Deposition & Litigation Services
                                               866 299-5 127




                                                                                     Ex. 46 - 5750
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6072 Page 39 of 98




         1                 UNITED STATES DISTRICT COURT
         2               SOUTHERN DISTRICT OF CALIFORNIA
         3

         4 TARLA MAKAEFF, BRANDON KELLER,
         5 ED OBERKROM, and PATRICIA
         6 MURPHY, on Behalf of Themselves
              and All Others Similarly


         8  Plaintiffs,
         7 Situated,

         9 vs. No. 10 CV                          0940 IEG (WVG)
        10 TRUMP UNIVERSITY, LLC, (aka
        11 Trump Entrepreneur Initiative) a
             New York Limi ted Liabi 1 i ty
        12 Company, DONALD J. TRUMP, and
        13 DOES 1 through 50 , inclusive,
        14              Defendants.
        15
        16
       17 CONTINUED VIDEOTAPED DEPOSITION of TARLA MAKAEFF
       18 San Diego, California
       19                   Tuesday, January 31, 2012
       20                                Võlume II
       21
       22 Reported by;
             Kae F. Gernandt
       23 RPR, CSR No. 5342
       24 Job No. 133737
       25 PAGES 283 - 591

                                                                              Page 283

                         Veritext National Deposition & Litigation Services
                                           866299-5 i 27




                                                                                   Ex. 46 - 5751
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6073 Page 40 of 98




             1          Q.   All right. So, now we're at the end of                   11:33:18
             2 October, October 24 th. You have not yet gone to a

             3 single Trump University program under the Gold Elite

            4 program yet other than your mentorship, correct?

            5           A.   I can't say for certain. I went to what                  11:33:34
            6 was ever first available within my city

            7           Q.   All right.
            8           A.   - - which could have been - - I think it

            9 was following thereafter. I went to the Creative

        10       Financing perhaps.                                                   11:33:43
        11              Q.   Okay. I show that you went to a Wealth

        12 Preservation Eetrea! on Octob~r 24th_~h Johñ

        13 Childers.
        14 Does that sound correct?
        15     r:            1 f - - yes, I .gi.cLg~t.p ~::.. don i t know            11:33:54
        16 if it was the specific date. I did go to Wealth

        1 7 ~reservation with J. J. Childers.
        18             Q.    All right. Can you take a look at

        19 Bates TU-MAKAEFF 648?

        20                   I think you're in the wrong binder.                     11:34:49
        21             MS. ECK: Oh, TU-MAKAEFF.

       22              MR. SCHNEIDER: You're in the Prosper

       23 documents. It's TU-MAKAEFF 648.

       24              THE WITNESS: Okay.
       25 / / /
                                                                                   Page 383

                              Veritext National Deposition & Litigation Services
                                                866299-5 i 27




                                                                                       Ex. 46 - 5752
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6074 Page 41 of 98




             1 certain way? 11:40:29
             2 A. At the time, I felt that I was going to
             3 get more help, once again, from J. J. Childers

             4 because they had pulled me aside to enroll me in an

             5    entity package that, again, I had reservations about                   11:40:43
             6 but decided to go with.

         7 ISo, I felt these people ~ere .going to
         8 help _me., so _1_ rated them well. I had ju~t given

         9 ~ll$.i, 995 and,-ggain;- was nõE pr_~-pared to put

        10       anything down.                                                          11:40:57
        11                      I- th-ought that they dId a decent_ j'Qb'

        12 They were educated attorneys. That doesn i t mean
        13 that I understood everything that they werg saying.

        14                Q.    All right. So, in respo~-to No.1,

        15       where it as~s you to rate the seminar, did yõu                         11:41:11
        16 understand that yõu were rating the three days that
        17 you just participated in?
        18               A.     YeS'1

        19               \Q.    All right.1 So, the first_ question asks

        20       '""or YQ\l- tO !''àte tls1 qU'àJ_i ty 2t..q,e-Presentati..,. and       11:41:24
        21 th-~re i s a scaie-of 1, being unsatisjactõry, to 5,
        22 be-iñg exceìle-nt ~I
        23 Mhat did you rate the quality of the
        24 pr~santation?
        25               A.    Fìve.                                                    11:41:34

                                                                                      Page 388

                                 Veritext National Deposition & Litigation Services
                                                   866 299-5 127




                                                                                          Ex. 46 - 5753
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6075 Page 42 of 98




                              EXHIBIT 47
                        Pages: 5754-5777


                       [Filed Conditionally
                           Under Seal]
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6076 Page 43 of 98




                                EXHIBIT 48




                                                                  Ex. 48 - 5778
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6077 Page 44 of 98

                   TI' ApbcAd pd (Attll of 2)




                       "Are YOU mv nexl
                              APP TICE?"
                                                                                                                      it


                     Most peple don't relize that The Trump Ora-            wealth in the United States. In fact 76% of all
                   . ni7.8tion began more than 75 years ago. It sta-        milionaires are created frm real estate.
                       ed when my father-Fred Trump-invested in
                       modest single family houss-e kind found in           low Ifs Your Turn

                       every neighborhoo in ever to\V in Amenca.            Are you ready to create your 0\V persnal
                       Over time, my father passe on his succesful          "TrumpireT You can do it! There's no bener
                       strtegies to me, Donald Trump. I took them           time than right now and no bener team than
                       and grew the family business draatically, tak-       my team. While some of the strtegies have
                       ing it to the next leveL.                            changed, the fundaentals have not. And real
                                                                            estate is stil-without a doubt-te best vehi-
                       Tody, our financial empire is diversified. But i     cle to get you there.
                       NEVER stray far from real estate. In fact, I con-                                                              There has HEVER ben a better
                       tinue to make milions in both residential and        A "peec storm" has arrved tht can turn                    time to Invest in real estate.
                                                                            those with the right knowledge into milion-               Right now we are experiencing:
                       commercial real estate to this day!
                                                                            aires. That's why my Apprenticeship Workshop
                                                                            shows ambitious adults how to beome success-              . Historic delines in real estate
                       8811 Es        Is Wha Work                                                                                       prices
                                                                            ful real estate investors.
                       My father's humble-yet pmfitable-ginning                                                                       . Hear record-low mortgage rates
                       is the kind of grassrois Amercan success story       I( )'OU ihink you have whal illakes 10 be my              . The highest housing Inventory
                       that's repeated by thousads of ambitious real        nnl Appreniice, come prove it to me by ai-                  in hIstory
                       estate beginners every single year. The trth is,     iending one or my workshops. We ,,'i1leach
                       real estale is ST1lL the number one path to          you how 10 succee!                                        Combine these powerful forces
                                                                                                                                      wlth my 2010 real estate
                                                                                                                                      strateges, and you've got the
                                                                                                                                      perfect storm to create your own
                   At mv Apprenticeship Workshop,                                                                                     personal real estate empire.
                                                                                                                                      Opportunity is knockingl
                   vou'lIlearn how to:                                                                                                Will you open the door or
                                                                                                                                     just stand there?
                       . Buy real estate from banks-at up to 70% below market value!
                       . Make money as a "matchmaker"-without ever owning a propertyl



                                                                                                                                                              ~
                       . Buy the "ght propertes at the "ght time-and know
                         when to sell!
                       . Finance your deals creatively in
                         today's credit market!
                       . Invest in real estate through
                         your IRA-tax freel
                                                                                                                                                        TRUMP
                                                                                                                                                        UNIVERSITY
                                                                                                                                                         Suee wirl Trump



                          My Apprentice Workshop is FREE! Reserve your seat today!
                                     TrumpUniversitvSouthFlorida,com · 888-TRUMP-14 (888-878-6714)
                  .,
                  ..                   ADMIT TWO                                             PREMIUM SEATING                                                              l
             't"                  MONDAY                                   TUESDAY                              WEDNESDAY                              THURSDAY
                               February 4th                          February 4th                              February 4th                          February 4th
                            i :00 PM & 7:00 PM                     i :00 PM & 7:00 PM                         i :00 PM & 7:00 PM                    i :00 PM & 7:00 PM
                                 Xxxxx, FL                             Xxxxx, FL                                 Xxxxx, FL                             Xxxxx, FL
                          The Westin Colonnode,                  The Westin Colonnade,                   The Westin Colonnode,                 The Westin Colonnade,
                                Coral Gobles                         Coral Gobles                               Coral Gobles                       Corol Gobles
                            i 80 Arogon Avenue                     i 80 Aragon Avenue                         i 80 Aragon Avenue                    i 80 Aragon Avenue

                  . - - - - - - - - - - - - - - - - - - - - - - - - - - - - -eO~~IOfN1~t - - - - - - - - - - - - - - - - - - ~~4~ - --
             Registrtio beins 30 minutes pr to the snrt of clanei. Cbs5es ben prtl ~t th sceduled time. Mr.        Trump will not appr at th evt.



                                                                                                                                                                              Ex. 48 - 5779
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6078 Page 45 of 98




                         EXHIBITS 49-54
                        Pages: 5780-5820


                       [Filed Conditionally
                           Under Seal]
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6079 Page 46 of 98




                                EXHIBIT 55




                                                                  Ex. 55 - 5821
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6080 Page 47 of 98




         1 UNITED STATES DISTRICT COURT
         2 SOUTHERN DISTRICT OF CALIFORNIA
         3
         4
              TARLA MAKAEFF, BRANDON KELLER,
         5 ED OBERKROM, and PATRICIA
              MURPHY, on Behal f of Themselves
         6 and All Others Similarly
              Situated,
         7 No. 10 CV 0940 lEG (WVG)
                            Plaintiffs,
         8
                  vs.
         9
              TRUMP UNIVERS I TY, LLC, (aka
        10 Trump Entrepreneur Initiative) a
              New York Limited Liability
        11 Company, DONALD J. TRUMP, and
             DOES 1 through 50, inclusive,
        12
                            Defendants.
        13
        14
        15
        16 DEPOSITION of TARLA MAKAEFF
        17 San Diego, California
        18 Monday, January 30, 2012
        19 Volume I
        20
        21
        22 Reported by:
             Kae F. Gernandt
        23 RPR, CSR No. 5342
        24 Job No. 130455
        25 PAGES 1 - 282

                                                                                Page 1

                           Veritext National Deposition & Litigation Services
                                             866299-5 i 27




                                                                                  Ex. 55 - 5822
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6081 Page 48 of 98




        1    you are receive any information from Trump                           12:04:24
        2 Uni versi ty?

        3           A.    No.

        4           Q.    Did you read any materials about Trump

        5    University before you attended the Fast Track to                     12:04:31
        6 Foreclosure?
        7           A.    No.

        8           Q.    So, when you showed up for the three-day

        9 program, is it accurate that you ha~~t revìëwed or.

       10    seen any information about Trump University?                         12:04:44
       11           li.   No, - I ïiad not.

       12           Q.    To your knowledge, did you sign any kind

       13 of contract or agreement with Trump Uni versi ty

       14 regarding Fast Track to Foreclosure?
       15           A.    For the 1500-dollar aspect?                             12:05:01
       16           Q.    Right.
       17           A.    I don't believe so.         I don't recall.

       18           Q.    Do you have any memory of paying Trump

       19 University any money for you to attend the Fast
       20    Track to Foreclosure?                                                12:05:14
       21           A.    No.   I paid my friend $750.

       22           Q.    That was some weeks later, right?

       23           A.    It was - - yes, post the course.             I don't

       24 recall the amount of weeks, but

       25           Q.    All right. Let i s - - let's talk about                 12:05:42

                                                                                 Page 65

                           VerItext National Deposition & Litigation Services
                                             866299-5127




                                                                                    Ex. 55 - 5823
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6082 Page 49 of 98




            1                UNITED STATES DISTRICT COURT
            2             SOUTHERN DISTRICT OF CALIFORNIA
            3

         4 TARLA MAKAEFF, BRADON KELLER,
            5 ED OBERKROM, and PATRICIA
                MURPHY, on Behalf of Themselves
         6 and All Others Similarly
         7 Situated,
         8 No. 10 CV 0940 lEG (WVG)
         9          vs.        Plaintiffs,
        10 TRUMP UNIVERSITY, LLC,. (aka
                Trump Entrepreneur Initiative) a
        11 New York Limi ted Liability
        12 Company, DONALD J. TRUMP, and
        13 DOES 1 through 50, inclusive,
        14              Defendants.
        15
        16
        17                  DEPOSITION of BRANDON KELLER
        18                         San Diego, California
        19                    Tuesday, January 17, 2012
        20 Volume I
        21 Reported by:
        22 Kae F. Gernandt
                RPR, CSR No. 5342
       23 Job No. 130453
       24
       25 PAGES 1 - 264

                                                                                    Page 1

                            Veri   text National Deposition & Litigation Services
                                                 866 299-5 i 27




                                                                                      Ex. 55 - 5824
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6083 Page 50 of 98




         1 ¡ programs other than Trump University are relevant to                    10:42:01
         i this case. We have them compiled, and if Judge

         3 Gallo rules on this issue, we i re ready to present

         4 them to you.

         5           MR. SCHNEIDER: So, you i re instructing him                     10:42:12
         6 not to answer?
         1           MS. ECK: No.         I think you had asked if he

         8 had documents available.

         9 No, you may answer the question.
        10           THE WITNESS:       I have produced all the                     10:42:19
        11 documents I have available.
        12 BY MR. SCHNEIDER:

        13          Q.    My question wasn't that. My question

        14 was: Are there any other documents that you're
        15   aware of which would indicate any other programs or                    10:42:26
        16 seminars or workshops or mentoring or coaching that
        17 you have participated in other than Robert Allen,
        18 EWI, Dale Carnegie and Trump University?

        ig          A.    No.

        20          Q.    Your first contact by anybody from Trump                  10:42:47
        21 Uni versi ty was - - was in what form?
       122          A.    It was an e-mail about - - the e-mail and

        23 what - - the information in that e-mail is in the
        24 seven causes, specifically the seventh cause.
        25          MS. ECK: Brandon, he just asked you -- what                     10:43:46

                                                                                   Page 38

                           Veri   text National Deposition & Litigation Services
                                                866299-5127




                                                                                      Ex. 55 - 5825
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6084 Page 51 of 98




                                                                      Page 1
      1                     UNITED STATES DISTRICT COURT

     2             FOR THE SOUTHERN DISTRICT OF CALIFORNIA

      3
                                                  )

      4   TARLA MAKAEFF, BRANDON KELLER,          )

          ED OBERKROM, and PATRICIA MURPHY,       )

     5    on Behalf of Themselves and All         )
          Others Similarly Situated,              )
      6                                           )

                           Plaintiffs,            ) Case No.
     7                                            ) 10 CV 0940 CAB (WVG)
                     vs.                          )
      8                                           )
          TRUMP UNIVERSITY, LLC, (aka Trump       )

      9   Entrepreneur Ini tia ti ve) a New       )

          York Limited Liability Company,         )

    10    DONALD J. TRUMP, and DOES 1             )

          through 50, incl us i ve,               )
    11                                            )
                           Defendants.            )

    12                                            )



    13

    14

    15              Videotaped Deposition of John Brown

    16              taken at 655 West Broadway, Suite 1900,

    17              San Diego, California, commencing at

    18              9:18 a.m., on Monday, October 8, 2012,

    19              before Kimberly S. Thrall, RPR, CSR No. 11594.

    20
    21

    22

    23
    24 Reported by: Kimberly S. Thrall, RPR, CSR. No. 11594
    25                     Job No. 54027




                                                                  Ex. 55 - 5826
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6085 Page 52 of 98




                                                                     Page 16
        1       A. I was able to do the upgrades on both uni ts,

       2    and I was able to sell the upper unit. I still hold the

       3    lower unit.
       4        Q. So were you working for the kidney foundation
       5    at the time that you first became involved in the

        6   New Hope condo proj ect?
       7        A. Yes.
       8        Q. At the time that you were working for the
       9    Kidney Foundation, was that a full-time position?

      10        A. Uh-huh.
      11        Q. Yes?
      12        A. Uh-huh. Yes.
      13        Q. And were you a salaried employee?
      14        A. Yes.
      15        Q. And approximately how many hours a week would
      16    you estimate you were working as the director of the

      17    National Kidney Foundation?

      18        A. On average, I would say 40.

      19        Q. Any other experience in -- in real estate
      20    besides reading some books and investing in the New Hope

      21    property?
      22        A. No.
      23        Q. When did you first hear anything about
      24    Trump Universi tyZ
      ~         A. The first time- I-heard something~as -- I can' ti




                                                                   Ex. 55 - 5827
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6086 Page 53 of 98




                                                                         Page 1 7
      1   remember exactly whether it was an e-mail or if it -- or

      2   if it was an announcement in the    mail   .   It might have

      3   been an announcement.

      4            Q. Do you have a copy of that e-mail or
      5   announcement?
      6            A. I don't, no.
      7            Q. Are you married?
      8            A. No.
      9            Q. Do you live alone?
     10            A. I do.
     11            Q. At the time that you received the e-mail or
     12   announcement, were you living alone?

     13            A. Yes.
     14            Q. And do you live in Manhattan?
     15            A. Yes.
     16            Q. And what was it about the e-mail or
     17   announcement that interested you, if anything?

     1S            A. I think the thing that was most interesting to

     19   me was that Mr. Trump's name was on it, and I felt that

     20   he was a legitimate person who had made a lot of money

     21   in real estate, and that was -- I -- I felt like that

     22   would be a great opportunity, to hear from him.

     23            Q. Had you ever seen him prior to receiving an
     24   announcement, in person?

     25            A. No, not in person.



                                                                     Ex. 55 - 5828
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6087 Page 54 of 98




                                                                                 Page 1
      1                 UNITED STATES DISTRICT COURT
      2           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
      3

                                                             )

      4   TARLA MAKAEFF, BRANDON KELLER,                     )

          ED OBERKROM, and PATRICIA MURPHY,                  )

      5   on Behalf of Themselves and All                    )

          Others Similarly Situated,                         )

      6                                                      )

                          Plaintiffs,                        ) Case No.
      7                                                      ) 10 CV 0940 CAB (WVG)
                    vs.                                      )

      8                                                      )

          TRUMP UNIVERSITY, LLC, (aka Trump                  )

      9   Entrepreneur Initiative) a New                     )

          York Limited Liability Company,                    )

     10   DONALD J. TRUMP, and DOES 1                       )

          through 50, inclusive,                            )

     11                                                     )

                          Defendants.                       )

     12                                                     )

     13
     14

    15             Videotaped Deposition of IJoann Everett
    16             taken at 655 West Broadway, Suite 1900,
    17             San Diego, California, commencing at
    18             9:31 a.m., on Wednesday, October 3, 2012,
    19             before Kimberly S. Thrall, RPR, CSR No. 11594.
    20
    21
    22
    23
    24 Reported by: Kimberly S. Thrall, RPR, CSR. No. 11594
    25 Job No. 54027
                             TSG Reporting - Worldwide 877-702-9580




                                                                             Ex. 55 - 5829
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6088 Page 55 of 98




                                                                      Page 14
       1
           which were the six pages of TU-72070 through 72076. And
       2   it may save some time to just have her -- ask questions
       3   regarding specific documents.
       4   BY MR. SCHNEIDER:
       5
               Q. All right. On the document you just
       6   identified, 08, what was it about your review of that
       7   document that refreshed your recollection?
       8       A. Would you repeat the ini tial question, please?
       9
               Q. Sure. What -- what was the reason why you
      10   reviewed that document?
      11       A. To refresh my memory on what happened in '09
      12   after I attended the free seminar.
      13       Q.   And did it refresh your memory?
      14       A.   The letter here states --
      15            I didn't ask you to read the letter.
               Q.
      16       A.   Oh.
      17
               Q. I asked you if -- if it refreshed your
      18   recollection?
      19       A.   Yes.
      20       Q. Okay. And how did it do that?
      21       A. That Trump was representing himself as
      22   providing his personal experiences to assist individuals
      23   in investing in real estate wi th li t tle or no money down
      24   and make a quick turn on investments.
      25       Q. All_Eight. So is that document you' r~ loo~ing

                           TSG Reporting - Worldwide 877-702-9580




                                                                    Ex. 55 - 5830
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6089 Page 56 of 98




                                                                         Page 15
      1   at, iS that an invitation to go to the free program, the
      2 free seminar?
      3       A.    Let me see.
      4
              Q.    No. The document you 'S~_12oking at.
      5       A.    Yeah. This is the -- well, I'm a little
      6 this is the invitation that I r~c~lved in the mail, and
      7 this letter here I believe came in with the invitation.
      8
              Q.    ITo go to the free pro9r~~ correct?1
      9       A.    IRight.
     10       Q.    IAll-right.
                           -
                                      So that invited you to go to a
     11   program that you attended; is that right?
     12       A.    Yes.
     13       Q.    All right.        So you didn't pay any money to go
     14   to the free program, correct?
     15       A.    No, i did not.
     16       Q.    All right.        So you didn't lose any money by
     17   going to the free program?
     18       A.    No, I did not.
     19       Q.    All right. And you didn't -- you didn't spend
     20   any money on anything because of that letter there,
     21   No. 08; is that correct?
     22             MS. ECK: Obj ection. Lack of foundation.
     23   Vague as to time.
     24   BY MR. SCHNEIDER:
     25       Q.    You can answer the question.


                              TSG Reporting - Worldwide 877-702-9580




                                                                       Ex. 55 - 5831
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6090 Page 57 of 98




                                                                                     Page 1
          1                 UNITED STATES DISTRICT COURT
          2           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
          3

                                                                     )

          4   TARLA MAKAEFF, BRANDON KELLER,                         )

              ED OBERKROM, and PATRICIA MURPHY,                      )

          5   on Behalf of Themselves and All                        )

              Others Similarly Situated,                         )

          6
                                                                 )

                              Plaintiffs,                        ) Case No.
          7
                                                                 ) 10 CV 0940 CAB (WVG)
                        vs.                                      )

      8
                                                                 )

              TRUMP UNIVERSITY, LLC, (aka Trump                  )

      9       Entrepreneur Initiative) a New                     )

              York Limited Liability Company,                    )

     10       DONALD J. TRUMP, and DOES 1                        )

              through 50, inclusive,                             )

     11                                                          )

                              Defendants.                        )

     12                                                          )

     13
     14

     15               Videotaped Deposition of Son~ Low
     16               taken at 655 West Broadway, Suite 1900,
     17               San Diego, California, commencing at
     18               9:23 a.m., on Thursday, October 4, 2012,
     19               before Kimberly S. Thrall, RPR, CSR No. 11594.
     20
     21
     22
     23       Reported by: Kimberly S. Thrall, RPR, CSR. No. 11594
     24                     Job No. 54028
     25


                                 TSG Reporting - Worldwide 877-702-9580




                                                                                 Ex. 55 - 5832
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6091 Page 58 of 98




                                                                       Page 42
      1              MR. SCHNEIDER: Well, he also answered this
      2   morning that he went to a three-day free program, and
      3   now he's changing his testimony, so I want to make sure
      4   we've got it clear.
      5   BY MR. SCHNEIDER:
      6
              Q. Was the advertisement that you saw in thel
      7   newspape-r-for the free 90-minute program?
      8       A. Yes.
      9
              Q. Did you ever see an advertisement in the
     10   inewspaper for any paid Trump Uni versi ty programs?
     Ti       A. No.
     12
              Q. Did you receive anything from Donald Trump
     13   concerning any program other than the free 90-minute
     14   program?
     15              MS. ECK: Obj ection. Vague as -- as to
     16   advertisements.
     17   BY MR. SCHNEIDER:
     18       Q. No. Anything from Donald Trump personally?
     19       A. The letter that I got signed by Donald J. Trump
     20   about coming to learn about profiting from real estate
     21   investing.
     22       Q. Was that for the free program?
     23              MS. ECK: If you recall.
     24              THE WITNESS: Per my recollection, Donald Trump
     25   was going to share his secrets, real estate investing.


                            TSG Reporting - Worldwide 877-702-9580




                                                                     Ex. 55 - 5833
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6092 Page 59 of 98




             1               UNITED STATES DISTRICT COURT
             2             SOUTHERN DISTRICT OF CALIFORNIA
             3

                 TARLA MAKAEFF, BRANDON KELLER,
          4 ED OBERKROM, and PATRICIA
                 MURPHY, on Behalf of Themselves
          5 and All Others Similarly
         6 Situated,
         7 Plaintiffs,
         8 vs. No. 10 CV 0940 lEG (WVG)
         9 TRUMP UNIVERSITY, LLC, (aka
                 Trump Entrepreneur Initiative) a
        10 New York Limited Liability
        11 Company, DONALD J. TRUMP, and
        12 DOES 1 through 50, inclusive,
        13              Defendants.

        14
        15 DEPOSITION of IEDWARD C. OBERKROM, JR.
        16 San Diego, California
        17 Wednesday, April 11, 2012
        18 Volume I
        19 Reported by:
        20 Kae F. Gernandt
        21 RPR, CSR No. 5342
        22 Job No. 135652
        23
        24
       25 PAGES 1 - 384

                                                                                    Page 1

                            Veri   text National Deposition & Litigation Services
                                                866 299-5 i 27




                                                                                      Ex. 55 - 5834
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6093 Page 60 of 98




         1    written material before the free seminar?                                 09:22:00
         2             A.    Yes.      I received a letter from Donald

         3   IT
                  rump inviting me to a free seminar.              There was two

         4    tickets t~aS _w~re_enclosed.             The !l~e 1 op_~a.§~eiY.,.
         5   what I call, gaudy.           It was -- if I remember right,               09:22:19
         6 it was printed in gold lettering or something very

         7 unordinary that you'd normally receive in the mail,

         8 and - - and it had two tickets enclosed and inviting
         9 me to the f~ee §emin2r ~

        10                  There was, I think, six seminars, all in                   09:22:48
        11   total, on three different days.                There was two per
        12 day. And my partner, Mike, we discussed it and were

        13 pretty excited about going.

        14             Q.   All right. Now, when you say "partner,"

        15   are you talking about a business partner, life                            09:23:10
        16 partner?
        17             A.   No, Mike is just a friend.                We have

        18   similar interests in real estate.                We've gone to
        19   different seminars together.              He's a pretty smart

        20   guy, and it's just we have similar interests, and we                      09:23:29
        21 have never done any type of business deal together.
        22 We have talked about real estate, but other than
        23   that, we're just with friends.               I i ve known Mike for
        24 about 20 years.
        25             Q.   Did you grow up in St. Louis?                              09:23:51

                                                                                      Page 20

                              Veri   text National Deposition & Litigation Services
                                                   866299-5127




                                                                                         Ex. 55 - 5835
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6094 Page 61 of 98




                                EXHIBIT 56




                                                                  Ex. 56 - 5836
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6095 Page 62 of 98




         1 UNITED STATES DISTRICT COURT
         2 SOUTHERN DISTRICT OF CALIFORNIA
         3
         4
              TARLA MAKAEFF, BRADON KELLER,
         5 ED OBERKROM, and PATRICIA
              MURPHY, on Behalf of Themselves
         6 and All Others Similarly
              Situated,
         7 No. 10 CV 0940 lEG (WVG)
                              Plaintiffs,
         8

                  vs.
         9
              TRUMP UNIVERS I TY, LLC, (aka
        10 Trump Entrepreneur Initiative) a
             New York Limited Liability
        11 Company, DONALD J. TRUMP, and
             DOES 1 through 50, inclusive,
        12
                             Defendants.
        13
        14
        15
        16 DEPOSITION of ITARLA MAKAEFF
        17 San Diego, California
        18 Monday, January 30, 2012
        19 Volume I
        20
        21
        22 Reported by:
             Kae F. Gernandt
       23 RPR, CSR No. 5342
       24 Job No. 130455
       25 PAGES 1 - 282

                                                                                   Page 1

                           Veri   text National Deposition & Litigation Services
                                               866299-5 i 27




                                                                                     Ex. 56 - 5837
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6096 Page 63 of 98




         1    information that you received?                                       12:07:03
         2           A.    It was very powerful motivational

         3 speaking, designed to persuade you to move on with

         4 their program.
         5           MS. ECK: You know, it's about 10 after                        12:07:26
         6 12:00. I'm wondering if we could -- depends on how

         7 you're doing. Do you want to take a break, or do

         8 you want to keep going?

         9           THE WITNESS:     Sure, we can take a break.

        10           MR. SCHNEIDER:      Sure.                                    12:07:37
        11           MS. ECK: Let's go off the record.
        12           THE VIDEOGRAPHER: Going off the record. The

        13 time is 12: 07 p. m .

        14 (A brief recess was taken.)
        15           THE VIDEOGRAPHER: Back on the record. The                    12:23:40
        16 time is 12:23 p.m.
        17 BY MR. SCHNEIDER:

        18           Q..   Did you ever- attend any free TrumR

       i9 u_níversrty_piq,g..~s -b~fõr~y"Ç?ll wen.Lt£: 'tii

        20 three.:S!ayj 12: 23: 50
        2 1 IA- II 0 .
       22 Q. Had you ever heard about them?
       23 A. My friend on the phone said she had gone
       24 to a free seminar.
       25           Q.     What did she tell you about her                        12:23:59

                                                                                 Page 67

                            Veritext National Deposition & Litigation Services
                                              866 299-5 i 27




                                                                                    Ex. 56 - 5838
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6097 Page 64 of 98




                                EXHIBIT 57




                                                                  Ex. 57 - 5839
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6098 Page 65 of 98




         1                UNITED STATES DISTRICT COURT
         2              SOUTHERN DISTRICT OF CALIFORNIA
         3

         4 TARLA MAKAEFF, BRANDON KELLER,
         5 ED OBERKROM, and PATRICIA
              MURPHY, on Behalf of Themselves
         6 and All Others Similarly
         7 Situated,
         8 No. 10 CV 0940 lEG (WVG)
         9        vs.      Plaintiffs,
        10 TRUMP UNIVERSITY, LLC, (aka
              Trump Entrepreneur Initiative) a
        11 New York Limited Liability
        12 Company, DONALD J. TRUMP, and
        13 DOES 1 through 50, inclusive,
        14              Defendants.
        15
        16
        17                DEPOSITION of ËIRÃÑD KELLER
        18                    San Diego, California
        19                 Tuesday, January 17, 2012
        20 Volume I
        21 Reported by:
        22 Kae F. Gernandt
             RPR, CSR No. 5342
        23 Job No. 130453
        24
        25 PAGES 1 - 264

                                                                               Page 1

                          Veritext National Deposition & Litigation Services
                                            866299-5127




                                                                                 Ex. 57 - 5840
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6099 Page 66 of 98




         1    Profit from Real Estate three-day training, correct?               11:44:40
         2          Ä.    They document says that.

         3           Q.   All right. And that r s what you

         4 understood you were purchasing, correct?

         5           A.   What i S on this document is what I                    11:44:48
         6 purchased.
         7           Q.   All right. And there i s a number of

         8    i terns on items here that are free bonuses.           I want

         9 to go through exactly what you were purchasing under

        10    the contract. All right?                                           11:44:57
        11          A.    Okay.

        12           Q.   The first thing that you were purchasing

        13 for 1,495 was the Profit from Real Estate three-day

        14 training, corre~t ~
        15          A.    Yes.                                                   11:45:08
        16           Q.   That i s what you intended to buy,
        17 correct?
        18          A.    That i s what the document says.
        19          Q.    And that r s what you intended to buy; is
        20   that accurate?                                                      11:45:15
        21          A.    1'm stating that I purchased what the

        22 document says, what i s on the document.

        23          Q.    Okay.   I r m now talking about your
        24 intention. Sometimes in cases, the intention of the

        25   parties is important, so I want to make sure that                   11:45:28

                                                                                Page 70

                           Veritext National Deposition & Litigation Services
                                             866299-5127




                                                                                  Ex. 57 - 5841
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6100 Page 67 of 98




         1    credit card charge?                                                   03:54:39
         2          A.    To the 34,905, I cannot recall any

         3 credit card interest charges.

         4          Q.   .Did you pay the 1,495-doliar charge?

         5          A.   II had to make a payment plan and pay                      03:54:54
         6 that off, and I incurred interest to pay that off.

         7          Q.   Was any portion of that paid by somebody

         8   other than you     - -



         9          A.   No.

        10          Q.    - -   the 1,495?                                         03:55:04
        11          A.   No.

        12          Q.   Did you        discuss with your father that he
        13   would pay some of        that?
        14          A.   He never             no, he never paid it.        I

        15   paid it all. And we didn i t discuss him paying that.                 03:55:13
        16          Q.   And the reason that you had interest

        17 charges is because you didn r t have the money to pay

        18 off the 1,495 at one time?
        19          A.   At the due date it was due.

        20          Q.   Now, at the time that you charged the                     03:55:29
        21 1495 to your credit card for the three-day program,
        22 you understood -- well, let me back up.
        23 Was this credit card that you used for
        24 the 1495, was that your personal credit card?
       25           A.   Yes.                                                      03:55:44

                                                                                 Page 208

                            Veritext National Deposition & Litigation Services
                                              866299-5127




                                                                                     Ex. 57 - 5842
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6101 Page 68 of 98




                                                                                  Page 1
       1                    UNITED STATES DISTRICT COURT
       2           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
       3

                                                              )

       4   TARLA MAKAEFF, BRANDON KELLER,                     )

           ED OBERKROM, and PATRICIA MURPHY,                  )

       5   on Behalf of Themselves and All                    )


           Others Similarly Situated,                         )

       6                                                      )

                           Plaintiffs,                        ) Case No.
       7
                                                              ) 10 CV 0940 CAB (WVG)
                     vs.                                      )

       8
                                                             )

           TRUMP UNIVERSITY, LLC, (aka Trump                 )

       9   Entrepreneur Initiative) a New                    )

           York Limited Liabil i ty Company,                 )

      10   DONALD J. TRUMP, and DOES 1                       )

           through 50, inclusive,                            )

      11                                                     )

                           Defendants.                       )

      12                                                     )

      13
      14

      15            Videotaped Deposition of iSonny Low
      16            taken at 655 West Broadway, Suite 1900,
      17            San Diego, California, commencing at
      18            9:23 a.m., on Thursday, October 4, 2012,
      19            before Kimberly S. Thrall, RPR, CSR No. 11594.
      20
      21

      22
      23   Reported by: Kimberly S. Thrall, RPR, CSR. No. 11594
      24                 Job No. 54028
      25


                              TSG Reporting - Worldwide 877-702-9580




                                                                              Ex. 57 - 5843
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6102 Page 69 of 98




                                                                       Page 44
     1
               Q.   All right.     So at the end of the 90-minute
     2    program, did Mr. Harris tell you that Trump Uni versi ty
     3    had other programs available for purchase if you were
     4    interested?
     5        A.    I don't recall that.
     6
               Q.   Did you buy anything at the end of the
     7    90-minute program that day?
     We         -
              A.    I bought 1,495 three-day program.
     9
               Q.   When did you buy that program?
    10        A.    I believe it was in August.
    11         Q.   The same day as the 90-minute free program?
    12        A.    i do not recall.         I'm going to have to look at
    13    the receipt. You folks have a copy of that receipt.
    14    When I paid 1,495, that's when I did it.
    15         Q.   Okay. When did you think you went to the free
    16    90-minute program?
    17        A.    End of August, with Jim Harris.
    18         Q.   Did somebody at the free 90-minute program tell
    19    you that there was available a $1,495 program?
    20        A.    I do not recall.
    21         Q.   Do you know whether you spent any money the day
    22    of the 90-minute program related to Trump University?
    23        A.    My best confirmation of that is the receipt
    24    that I paid at U- -- Trump University has that I paid
    25    1, 495.

                           TSG Reporting - Worldwide 877-702-9580




                                                                     Ex. 57 - 5844
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6103 Page 70 of 98




                                                                       Page 69
      1   BY MR. SCHNEIDER:
      2
              Q. Marked as Exhibi t 3, a one-page document which
      3   is Bates-stamped LOW60, is it's entitled "Enrollment
      4   Form. "
      5              Is that your signature at the bottom, Mr. Low?
      6       A. Yes.
      7
              Q. And is this the written contract between you
      8   and Trump Uni versi ty concerning the purchase of the
      9   three-day in-field mentorship and the LLC?
     10       A. Yes.
     11       Q. And if you look at top portion under "Trump
     12   Gold Elite," for purchases there's a number of other
     13   programs and services that are included in that box.
     14              Do you see where I'm talking about?
     15       A. Yes.
     16       Q. Okay. And, for example, right underneath the
     17   three-day in-field mentorship, it says "Weal th
     18   Preservation Retreat."
     19              Do you see that one?
     20       A.     Yes.
     21       Q.     And below that is "Quick Start Real Estate
     22 Retrea t"?
     23       A.     Yes.
     24       Q.     All right. You didn't purchase those, did you?i
    251       A.     No.


                            TSG Reporting - Worldwide 877-702-9580




                                                                     Ex. 57 - 5845
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6104 Page 71 of 98




                                                                                     Page 1
          1                 UNITED STATES DISTRICT COURT
          2           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
          3

                                                                     )

          4   TARLA MAKAEFF, BRANDON KELLER,                         )

              ED OBERKROM, and PATRICIA MURPHY,                      )

          5   on Behal f of Themselves and All                   )

              Others Similarly Situated,                         )

          6
                                                                 )

                              Plaintiffs,                        ) Case No.
      7
                                                                 ) 10 CV 0940 CAB (WVG)
                        vs.                                      )

      8
                                                                 )

              TRUMP UNIVERSITY, LLC, (aka Trump                  )

      9       Entrepreneur Initiative) a New                     )

              York Limited Liability Company,                    )

     10       DONALD J. TRUMP, and DOES 1                        )

              through 50, inclusive,                             )

     11                                                          )

                              Defendants.                        )

     12                                                          )

     13
     14
     15                Videotaped Deposition of Joann Everett
     16                taken at 655 West Broadway, Suite 1900,
     17               San Diego, California, commencing at
     18               9:31 a.m., on Wednesday, October 3, 2012,
     19               before Kimberly S. Thrall, RPR, CSR No. 11594.
     20
     21
     22
     23
     24       Reported by: Kimberly S. Thrall, RPR, CSR. No. 11594
     25                     Job No. 54027

                                 TSG Reporting - Worldwide 877-702-9580




                                                                                 Ex. 57 - 5846
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6105 Page 72 of 98




                                                                          Page 30
       1
           program, correct?
       2       A.    Yes.
       3
               Q. All right. We've already talked about that.
       4   What other personal communications did you receive from
       5   Donald Trump?
       6       A. There was another letter.
       7
               Q. Can you identify that, please?
       8       A. Okay. Dated June 4th, 2010. Oh, this was a
       9   profi t lab -- an Orlando profit lab team.
      10             MS. ECK: This isn't --
      11             THE WITNESS: No, that -- that isn't
      12   Donald Trump. I'm sorry.
      13   BY MR. SCHNEIDER:
      14
               Q. Okay.
      15       A. Who is that?         I thought that was Donald Trump.
      16   Was that -- yeah.
      17             MS. ECK: It is             it is Donald Trump.
      18             THE WITNESS: Yes.            It is Donald Trump.   1'm
      19   sorry.
      20   BY MR. SCHNEIDER:
      21       Q. Okay. And what's the date of that?
      22       A. June 4th, 2010.
      23       Q. All right. So let's just get the chronology
      24   here.
      25             When did you purchase something from


                            TSG Reporting - Worldwide 877-702-9580




                                                                        Ex. 57 - 5847
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6106 Page 73 of 98




                                                                       Page 31
      1   Trump Uni versi ty?
      2       A. I attended the free seminar October 7th --
      3
              Q.     Okay. Free seminar
      4       A.     -- 2Õ09.
      5
              Q. October 7, 2009. All right.
      6       A. I paid for the $1,500, 1,495 for the workshop,
      7   October 14th, 15th and 16th held in Tampa.
      8
              Q. All right. When did you pay the 1,495?
      9       A. I think I paid that day of the free workshop.
     10       Q. All right. So the only thing that you had
     11   received from Mr. Trump personally was the invi ta tion to
     12   go to the free seminar that we just looked at?
     13       A. Right.
     14
              Q. And that's the only thing that you received
     15   from him prior to your purchase of the 1,495 program,
     16   correct?
     17              MS. ECK: Objection. Misstates the witness i s
     18   testimony. She was going through the documents to look
     19   for addi tional documents, and she's only on page 15. I
     20   don't think she's completed her testimony on that yet.
     21              THE WITNESS: There is another letter from
     22   Donald Trump.
     23   BY MR. SCHNEIDER:
     24       Q.     What's the date?
     25       A.     It doesn't have a date.


                            TSG Reporting - Worldwide 877-702-9580




                                                                     Ex. 57 - 5848
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6107 Page 74 of 98




                                                                         Page 1
          1                    UNITED STATES DISTRICT COURT

          2           FOR THE SOUTHERN DISTRICT OF CALIFORNIA

          3
                                                        )
          4   TARLA MAKAEFF, BRANDON KELLER,         )
              ED OBERKROM, and PATRICIA MURPHY,      )
          5   on Behalf of Themselves and All        )
              Others Similarly Situated,             )
          6                                          )
                              Plaintiffs,            ) Case No.
      7                                              ) 10 CV 0940 CAB (WVG)
                        vs.                          )
      8                                              )
              TRUMP UNIVERSITY, LLC, (aka Trump     )
      9       Entrepreneur Ini tiati ve) a New      )
              York Limited Liability Company,       )
     10       DONALD J. TRUMP, and DOES 1           )
              through 50, inclusive,                )
     11                                             )
                              Defendants.           )
     12                                             )


     13

     14

     15                Videotaped Deposition of John Brown

     16                taken at 655 West Broadway, Suite 1900,

     17                San Diego, California, commencing at

     18                9:18 a.m., on Monday, October 8, 2012,

     19                before Kimberly S. Thrall, RPR, CSR No. 11594.

     20
     21

     22
     23
     24 Reported by: Kimberly S. Thrall, RPR, CSR. No. 11594
     25                       Job No. 54027




                                                                     Ex. 57 - 5849
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6108 Page 75 of 98




                                                                    Page 48

       1       A. I don't remember when.
       2       Q. Do you remember what year?
       3       A. I think it was 2010.
       4       Q. At any time did you evaluate that mentorship
       5   with Steve Gilpin?
       6       A. I did.
       7       Q. In writing?
       8       A. I don't remember if it was in writing or by

       9   telephone.
     10        Q. If it was in writing, do you have a copy of it?
     11        A. No.
     12        Q. If it was in writing, do you actually have a
     13    recollection of filling one out about

     14        A. I don't --
     15        Q. -- Steve Gilpin?
     16        A. I don't remember filling one out, no.

     17        Q. Do you have any memory of sending it in to
     18    Trump University?

     19       A. No.
     20        Q. All right. So at the end of the two-hour free
     21    program, did you make a decision that you wanted to

     22    continue with your real es ta te education?
     23       A. Yes.
     24        Q. Ãnd you thought that the $1,495 program was
     25    expensive, but you decided that you wanted to go ahead



                                                                  Ex. 57 - 5850
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6109 Page 76 of 98




                                                                    Page 49
      1   and purchase it?
      2       A. Yes.
      3       Q. Why did you decide you wanted to purchase it?
      4       A. I wanted to continue making money. I felt that
      5   more education would be able to help me make better

      6   judgments and better choices or maybe not better, but
      7   the best choices.

      8             (Defendants' Exhibit 2, Contract, was marked

      9            for identification.)

    10    BY MR. SCHNEIDER:

    11        Q. I've marked as Exhibit 2, a two-page document
    12    that is -- at the bottom -- those numbers on the bottom

    13    right corner, those are called Bates numbers, and during

    14    the deposition, I'm going to be referring to them as --

    15    as Bates numbers or Bates-stamped -- is Bates-stamped

    16    BROWN001 and 002.

    17             Is this the -- the contract or the form that

    18    you had mentioned earlier that you recall signing?

    19        A. Yes.
    20        Q. And is that your signature at the bottom of the
    21    first page?

    22        A. Yes.
    23        Q. And if you'll turn to the second page, it's
    24    enti tled "Terms and Conditions."

    25             And is that your signature and handwriting on




                                                                  Ex. 57 - 5851
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6110 Page 77 of 98




            1               UNITED STATES DISTRICT COURT
            2             SOUTHERN DISTRICT OF CALIFORNIA
            3

                TARLA MAKAEFF, BRANDON KELLER,
            4 ED OBERKROM, and PATRICIA
                MURPHY, on Behalf of Themselves
            5 and All Others Similarly
            6 Situated,
         7 Plaintiffs,
         8 vs. No. 10 CV 0940 lEG (WVG)
         9 TRUMP UNIVERSITY, LLC, (aka
                Trump Entrepreneur Initiative) a
        10 New York Limited Liability
        11 Company, DONALD J. TRUMP, and
        12 DOES 1 through 50, inclusive,
        13              Defendants.

        14
        15 DEPOSITION of EDWARD C. OBERKROM, JR.
        16 San Diego, California
        17 Wednesday, April 11, 2012
        18 Volume I
        19 Reported by:
        20 Kae F. Gernandt
        21 RPR, CSR No. 5342
        22 Job No. 135652
       23
       24
       25 PAGES 1 - 384

                                                                                   Page 1

                           Veri   text National Deposition & Litigation Services
                                                866299-5127




                                                                                     Ex. 57 - 5852
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6111 Page 78 of 98




         1   and experience and how he got? He went to real                        09:35:12
         2 estate training programs starting in the r 70s. This

         3 is directly relevant to what he knows about real

         4 estate. So -- but we can just take it, if you
         5   object or instruct him, then we'll address it at the                  09:35:21
         6 time.
         7 BY MR. SCHNEIDER:

         8          Q.    And when were these other programs? The

         9 Sheets program was in the i 70s. Al Lowry?

        10          A.    That was probably free.            I don i t             09:35:30
        11 remember buying anything from Lowry.

        12          Q.    And when was it?

        13          A.    It would have been in the early i 70s.
        14          Q.    All right. And Russ Whitney?

        15          A.    I went to several of the Russ                  as did    09:35:52
        16   Mike, went to several Russ Whitney seminars.                 I

        17 remember Mike and I critiquing the the speakers,
       18 just as kind of a joking around. But I don't
       19 remember actually purchasing any Russ Whitney

       20    material.                                                             09:36:23
       21           Q..   The Fast Track t~ Foreclosure seminar

       22 p'rovided by" Trump UñiVe'r~y w~ ..p"proximatelyi
       23 $1,4~5.: IAre you aware of -th-at?
       24 '§. I am.
       25          j, .
                          Did you pay any 9f .:~!. _m-o~y'?                        09:36:37

                                                                                  Page 29

                           Veritext National Deposition & Litigation Services
                                             866 299-5 127




                                                                                     Ex. 57 - 5853
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6112 Page 79 of 98




        1           A.   ~ot -- it's -- not at this time, no.                       09:36:39
        2           Q.   Okay. That was all paid by Mr. Bahr?1

        3           A.   Right.
        14          Q.   So, in this case, you i re not making any

        5    claim for any monies that you spent on the Fast                        09:36:52
        6 Track to Foreclosure?

        7           A.   No, 1'm not.
        8           Q.   All right. So, over the course of the

        9 last 30 to 40 years, is it an accurate statement

       10    that you have purchased and sold real estate and                      09:37:18
       11 purchased real estate for investment purposes and

       12 purchased and held real estate as rental properties
       13 and all of those combination of items in real estate

       14 has been your source of income?

       15           A.   Well, you said quite a bit there. Could                   09:37:35
       16 you--
       17           Q.   Sure.
       18           A.   - - make the question shorter or --
       19           Q.   Absolutely.
       20           A.   - - so I can answer yes or no to --                       09:37:39
       21           Q.   Let me ask it thi sway: Other than real
       22 estate, have you had any other sources of income for

       23 the last 40 years?
       24           A.   My job wi th Xerox. And the company r S

       25    name is Tameran.                                                      09:37:52

                                                                                  Page 30

                          Veri   text National Deposition & Litigation Services
                                               866299-5127




                                                                                     Ex. 57 - 5854
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6113 Page 80 of 98




          1    or any Trump Uni versi ty products, services and so                  09:12:40
          2 forth?
          3           A.    The initial 2500 -- or $25,000 that we

         4 and_my" p~tner, Mike Barr;-igned up wi th Tru~R U _to

         5    get mentõred by Donald Trump and his hand-picked                      09:13:02
         6 i.!str.1t.2~s.
         i Añd t~~n additionally to that, the
         8 Icredit carci-1õr what I put the purchase on, all that
         9 iinterest is accumulated where it i s .put me in a b~g

        10    f'nancial bind.                                                      109 : 13 : 26

        11            Q.    All right. .NC2w, YOld..-di§!. r t personally

        i2 pay_ $.12., 000 ,..i£ly.ou?

        13            A.    !io, I _ciid not..

        11.           Q-.   Y2U paid hal f of that?

        15           IA.    Yel', sir.                                             09:13:32
        16            Q.    So, you personally spent out of pocket

        17 $12,SOO?
        18           A.     That i S correct.
        19            Q.    All right. And were you aware that

        20    approximately two years ago Trump University offered                 09:13:43
        21 a full refund to you?

        22           A.     I am not.

        23           Q.     You are not aware of that?

        24           A.     No, sir.
        25           Q.     Is that something that would be                        09:13:50

                                                                                  Page 12

                             VerItext National Deposition & Litigation Services
                                               866299-5127




                                                                                     Ex. 57 - 5855
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6114 Page 81 of 98




                              EXHIBIT 58
                        Pages: 5856-5870


                       [Filed Conditionally
                           Under Seal]
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6115 Page 82 of 98




                                EXHIBIT 59




                                                                  Ex. 59 - 5871
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6116 Page 83 of 98




             1               UNITED STATES DISTRICT COURT
         2                 SOUTHERN DISTRICT OF CALIFORNIA
         3

         4 TARLA MAKAEFF, BRADON KELLER,
         5 ED OBERKROM, and PATRICIA
                 MURPHY, on Behalf of Themselves
         6 and All Others Similarly
         7 Situated,
         8 No. 10 CV 0940 lEG (WVG)
         9           vs.      Plaintiffs,
        10 TRUMP UNIVERSITY, LLC, (aka
                 Trump Entrepreneur Initiative) a
        11 New York Limited Liability
        12 Company, DONALD J. TRUMP, and
        13 DOES 1 through 50, inclusive,
        14              Defendants.
        15
        16
        17                   DEPOSITION of BRANDON KELLER
        18                       San Diego, California
        19                    Tuesday, January 17, 2012
        20 Volume I
        21 Reported by:
        22 Kae F. Gernandt
                 RPR, CSR No. 5342
        23 Job No. 130453
        24
       25 PAGES 1 - 264

                                                                                  Page 1

                             Veritext National Deposition & Litigation Services
                                               866 299-5 i 27




                                                                                    Ex. 59 - 5872
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6117 Page 84 of 98




          1          Q.      That was a voluntary action by Trump                     03:52:57
         2 University, wasn't it?
         3           A.      Yes.
         4           Q.      Had nothing to do with you thinking that

         5    you got scammed¡ this was something that Trump                          03:53:03
         6 University did as a courtesy to you and your father,

         7 true?
         8           MS. ECK: Objection.            Calls for speculation.

         9 BY MR. SCHNEIDER:

        10           Q.      It 1 S something that Trump University                  03:53:11
        11' initiated and did for you and your father, correct?
        12           A.      They did it based on their concern, and

        13 that was my understanding.

        14           Q.      Right.
        15           A.     They did it based on their concern.                      03:53:19
        16           Q.     All right. And then your father spoke

        17 with you about' his conversation with Trump
        18 University and Pai:l., righ,t?
        19           A.     l!~ s~aul Reisne.._~ii_ed _hirr,_ an.cl

        20    that's what he told me.                                                03:53:31
        21           Q.     And     did he expre~s his concern that you
        22    had gone    to the Üiree - day program without notifying
        231   him?

        24           A.     Yes.
        251          Q.     And he    told   you   that   he was concerned           03:53:42

                                                                                   Page 206

                              Veritext National Deposition & Litigation Services
                                                866 299-5127




                                                                                       Ex. 59 - 5873
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6118 Page 85 of 98




        1    about you signing up for the 35,OOO-dollar program?                   03:53:44
        2           A.    Yes-.

        3           Q.    And he advised you that Trump University

        4 had agreed to ful ly refund your money, correct?

        5           A.    Yes.                                                     03:53:56
        6           Q.    Even though it was outside of the

        7 ~hree-day period, correct?

        8           A.    Correct.
        9

       iO

       11
                    Q.

                    1::
                    Q.
                          ~~_ 03 : 54 : 01
                          In fact, that's what happened, isn't it?



                          Trump University returned every penny of

       12 the $35,OOO?
       13,          A.I   Yes.
       14           Q.    Did you have any credit card expenses

       15    related to the $35,OOO? In other words, did you                      03:54:06
       16 have any late penal ties or fees or interest charges?
       17           A.    I don i t recall because I - - I don r t
       18 recall if they credited the cards before the

       19    payments were due.      I f they did credi t the cards
       20    before the payments were due, then no.             I f they          03:54:22
       21. didn 1 t, then yes. But again, I can r t remember the

       22 dates they credited the credit card, and that would
       23 determine if there was interest or no interest.
       24           Q.    As you sit here today, are you aware of

       25    any expense that you had to paid related to the                      03:54:37

                                                                                Page 207

                           Veritext National Deposition & Litigation Services
                                             866299-5127




                                                                                    Ex. 59 - 5874
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6119 Page 86 of 98




                         EXHIBITS 60-62
                        Pages: 5875-5936


                       [Filed Conditionally
                           Under Seal]
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6120 Page 87 of 98




                                EXHIBIT 63




                                                                  Ex. 63 - 5937
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6121 Page 88 of 98




                                                                                        Page 1
          1                    UNITED STATES DISTRICT COURT
          2              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
          3

                                                                        )

          4         LA MAKAEFF, BRANDON KELLER,
              TAR                                                   )

              ED OBERKROM, and PATRICIA MURPHY,                     )

      5       on Behalf of Themselves and All                       )

              Others Similarly Situated,                            )

      6                                                             )

                                 Plaintiffs,                        ) Case No.
      7
                                                                    ) 10 CV 0940 CAB (WVG)
                           vs.                                      )

      8
                                                                    )

              TRUMP UNIVERSITY, LLC, (aka Trump                     )

      9       Entrepreneur Initiative) a New                        )

              York Limited Liability Company,                       )

     10       DONALD J. TRUMP, and DOES 1                           )

              through 50, inclusive,                                )

     11                                                             )

                                 Defendants.                        )

     12                                                             )

     13
     14

     15                  Videotaped Deposition of Joann Everett
     16                  taken at 655 West Broadway, Suite 1900,
     17                  San Diego, California, commencing at
     18                  9:31 a.m., on Wednesday, October 3, 2012,
     19                  before Kimberly S. Thrall, RPR, CSR No. 11594.
     20
     21
     22
     23
     24 Reported by: Kimberly S. Thrall, RPR, CSR. No. 11594
     25 Job No. 54027
                                    TSG Reporting - Worldwide 877-702-9580




                                                                                    Ex. 63 - 5938
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6122 Page 89 of 98




                                                                            Page 259
          1
                  Q.       "Just to service existing members, no new
          2 seminars, no live workshops, no ability to network with
          3   other Trump members. This is not a good investment."
          4
                  A.     Uh-huh.
          5              Do you see that?
                  Q.
          6       A.     Uh-huh. Yes.
          7              What -- what did you mean by "no ability to
                  Q.
          8   network with other Trump members"?
          9       A.     iIt was my understanding, just like the
     10       'networking, that some groups were setting up, you know,
     11       smaller networks-that you wauidnit have access to Trump
     12       members.     I didn't have names. So part of my
     13 understanding iñ Jioining this session is that you -- you
     14 would have access to other people, you know, in
     15 seminars, and so ~forth~ and exchange ideas and .
     16                  And you weren't provided that?
                  Q.
     17           A.     If it's        if it's at this stage, I felt that
     18       that was one of the            not necessarily the highest on
     19       the list, but one service that would no longer be
     20       available.
     21                  Was that something that was important to you,
                  Q.
     22 to be able to network with other
     23           A. Well, I think it's one thing, yes, one of maybe
                                                                                       i
     24       five or ten.
     25                                                                                I
                  Q. And what are some of the other things that were
                                                                                       J


                                 TSG Reporting - Worldwide 877-702-9580




                                                                          Ex. 63 - 5939
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6123 Page 90 of 98




                                EXHIBIT 64




                                                                  Ex. 64 - 5940
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6124 Page 91 of 98




                                                                                     Page 1
          1                  UNITED STATES DISTRICT COURT
          2            FOR THE SOUTHERN DISTRICT OF CALIFORNIA
          3

                                                                     )

          4   TARLA MAKAEFF, BRANDON KELLER,                     )

              ED OBERKROM, and PATRICIA MURPHY,                  )

          5   on Behalf of Themselves and All                    )

              Others Similarly Si tua ted,                       )

          6
                                                                 )

                              Plaintiffs,                        ) Case No.
      7
                                                                 ) 10 CV 0940 CAB (WVG)
                        vs.                                      )

      8
                                                                 )

              TRUMP UNIVERSITY, LLC, (aka Trump                  )

      9       Entrepreneur Ini tiati ve) a New                   )

              York Limited Liability Company,                    )

     10       DONALD J. TRUMP, and DOES 1                        )

              through 50, inclusive,                             )

     11                                                          )

                              Defendants.                        )

     12                                                          )
     13
     14

     15                Videotaped Deposition of Sonny Low
     16                taken at 655 West Broadway, Suite 1900,
     17                San Diego, California, commencing at
     18                9:23 a.m., on Thursday, October 4, 2012,
     19                before Kimberly S. Thrall, RPR, CSR No. 11594.
     20
     21
     22
     23       Reported by: Kimberly S. Thrall, RPR, CSR. No. 11594
     24                     Job No. 54028
     25


                                 TSG Reporting - Worldwide 877-702-9580




                                                                                 Ex. 64 - 5941
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6125 Page 92 of 98




                                                                          Page 70
      1
                Q.     What did you understand that you were going to
      2    receive for your $25,995? Actually, let me rephrase
      3    that question, Mr. Low.
      4                What were you told by Trump University you
      5    would receive for your $25,995?
      6


      7


      81
                A.

                Q.
                A.
                       - -
                       A Trump Uni versi ty handpicked mentor.

                       Did anybody tell you what "handpicked" peant_?1

                       In so many words, no.
      91
                Q.     What did you believe it meant?
                                                     - - -
     101        A.     I believed based upon what I read, because I
    .11 was aisõ-hañded out -- handed to me a description of an
    112 in-fi~ld mentorship mentor. Here again, I cannot be a
     13    hundred perc~nt-:n-auõtlng what is said, but it was
    114
           but it would be somebõdy handpicked using whatever
    15'    criteria that Donald~~mp and Trump University used
    16     in s~lecting these mentors, would fly to my town, my
    i1     Ineighborhood~ ~ñ~ walk through properties wi th me based
    18     iupon my financia~ goals, and he would -- he or she would
    19     ibe prepari~g for me a -eustomizecr investment plan of my
    20     Ineighborhood o~ tow~ based upon my financial goals and
    21
           '£fY. l-~.vel of comfort_.!? _succeed in reai estate investing
    22     career ~I
    23                 Tha t 's what 1_ undeE~ t9~d I was going to get,
    24     someb2dy who was famili2E wi th m~_ sele~t~d area to
    25 ,inví:s t in real es ta t.e ~~ In my case It .would be S~.. .§iego.


                              TSG Reporting - Worldwide 877-702-9580




                                                                       Ex. 64 - 5942
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6126 Page 93 of 98




                                                                      Page 71
     1
          Count¥~ CaljJor~ia. ~h~t~~ w~at I expected to see.
     2
              Q. Did Trump University allow you to attend a
     3
          Quick Start Real Estate Retreat for free?
     4        A. Yes.
     5
              Q. And that is on the contract, that item is
     6    normally a $5, 000 item?
     7        A. Yes.
     8
              Q. All right. And what was the reason why
     9    Trump University allowed you to attend that program for
    10    free?
    11              MS. ECK: Obj ection. Calls for speculation.
    12   BY MR. SCHNEIDER:
    13
              Q. I f you know.
    14        A. Steve Goff came up to me and stated: "My
    15   brother, Chris Goff, designed this Quick Start Real
    16   Estate Retreat program. I'm going to give that to you
    17    for free."
    18
              Q. Was that before or after you purchased a
    19   mentorship?
    20        A. Probably after I had paid 25 grand.
    21
              Q. And did Mr. Goff mention it for the first time
    22   after you purchased a membership -- mentorship? Sorry.
    23             MS. ECK: If you recall.
    24             THE WITNESS: Per my recollection,
    25   Mr. Steve Goff even gave us a copy of the draft of the


                           TSG Reporting - Worldwide 877-702-9580




                                                                    Ex. 64 - 5943
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6127 Page 94 of 98




                                                                         Page 1
          1                    UNITED STATES DISTRICT COURT

          2           FOR THE SOUTHERN DISTRICT OF CALIFORNIA

          3
                                                        )
          4   TARLA MAKAEFF, BRANDON KELLER,         )
              ED OBERKROM, and PATRICIA MURPHY,      )
      5       on Behalf of Themselves and All        )
              Others Similarly Situated,             )
      6                                              )
                              Plaintiffs,            ) Case No.
      7                                              ) 10 CV 0940 CAB (WVG)
                        vs.                          )
      8                                              )
              TRUMP UNIVERSITY, LLC, (aka Trump      )
      9       Entrepreneur Ini tiati ve) a New       )
              York Limited Liability Company,       )
     10       DONALD J. TRUMP, and DOES 1           )
              through 50, inclusive,                )
     11                                             )
                              Defendants.           )
     12                                             )


     13

     14

     15                Videotaped Deposition of John Brown

     16                taken at 655 West Broadway, Suite 1900,

     17                San Diego, California, commencing at

     18                9: 18 a.m., on Monday, October 8, 2012,
     19                before Kimberly S. Thrall, RPR, CSR No. 11594.

     20
     21

     22
     23
     24 Reported by: Kimberly S. Thrall, RPR, CSR. No. 11594
     25                       Job No. 54027




                                                                     Ex. 64 - 5944
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6128 Page 95 of 98




                                                                   Page 289
      1       Q.   Did Mark offer for you to attend or participate

      2 in any educational programs?
      3       A.   No.
      4       Q.   Before contacting Ms. Eck' s firm, did you

      5 contact any other attorneys to see if they were

      6 interested in your case?
      7       A.   No.

      8       Q.   Have you spoken with any other attorneys about

      9 whether or not they might represent you?
     10       A.   No.

     11       Q.   If you were to learn that Donald Trump reviewed

     12 the resumés of the instructors and mentors, would you

     13 consider that to be handpicked?
    14             MS. ECK: Obj ection. Calls for a legal

     15 conclusion. Calls for speculation. Hypothetical.
    16             THE WITNESS: No, I wouldn't.

    17 BY MR. SCHNEIDER:
    18        Q.   So if he reviewed the resumés of somebody that

    19 became a mentor, that would not in your mind be
    20 handpicked?
    21             MS. ECK: Same obj ections .
    22             THE WITNESS: Okay. I i m getting confused now.
    23 Can you say it again for me, please?
    24 BY MR. SCHNEIDER:
    25        Q.   Sure.   'If Steve Gilpin, for example, _subm~tte9




                                                                  Ex. 64 - 5945
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6129 Page 96 of 98




                                                                     Page 290
      1 a resumé to Trump University that he wanted to work for
      2 Trump Uni versi ty as a speaker or --

      3       A.    IUh-huh.
      4       Q.    1-- as ~ mentor, and Donald JrumE r~vie~ed his

      5 resumé and said this looks good, that would not be
      6 handpicked in ~~ur mind?
      7             ~S. ECK: Same obj ections . Calls for

      8 speculation. Hypothetical.
      9 THE WITNE?S:_ 1 would. -- I w9~ld ~a~ if he --
     1Õ if he selected that person himself, that it would be

     11 handpicked, yes.
    12 BY MR. SCHNEIDER:
    13        Q.    All right. If he reviewed-the resumé
    14        A.I   Uh-huh.
    15        Q.I   -- and approved the resumé, would that be

    16 handpicked_ in .ygur mind?

    17              MS. ECK: Obj ection. Asked and answered. 1 Same

    18 obj ections .
    19 BY MR. SCHNEIDER:
    20        Q.    IYou can answer.

    121       A.    I f he reviewed the resumé and said this looks
    22    good, would      that would be considered.hanap-i£ked? Is

    23 that what you i re saying?
    124       Q:.   Yes.
    25              MS. ECK: Well, obj ection. That's not --




                                                                  Ex. 64 - 5946
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6130 Page 97 of 98




                         EXHIBITS 65-67
                        Pages: 5947-5970


                       [Filed Conditionally
                           Under Seal]
Case 3:10-cv-00940-GPC-WVG Document 143-1 Filed 11/30/12 PageID.6131 Page 98 of 98




                       EXHIBITS 68-70
           INTENTIONALLY OMITTED




                                                              Exs. 68-70 - 5971
